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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION


GIANT EAGLE, INC.,

      Plaintiff,

v.                                    Civil Action No. _______________________

MERCK & CO., INC.; MERCK SHARP &
DOHME CORP.; SCHERING-PLOUGH
CORP.; SCHERING CORP.; MSP
SINGAPORE CO. LLC; GLENMARK
PHARMACEUTICALS LTD.; and
GLENMARK PHARMACEUTICALS INC.,
USA,

      Defendants.


                    COMPLAINT AND DEMAND FOR JURY TRIAL
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         Plaintiff Giant Eagle, Inc. (“Giant Eagle”) brings this civil antitrust action against

Defendants Merck & Company, Inc., Merck Sharp & Dohme Corporation, Schering-Plough

Corporation, Schering Corporation, and MSP Singapore Company LLC (collectively “Merck”),

and Glenmark Pharmaceuticals Limited and Glenmark Pharmaceuticals Inc., USA (collectively

“Glenmark”), and for its Complaint alleges as follows:

                                     I.      INTRODUCTION

         1.     This is a civil antitrust action seeking permanent injunctive relief, treble damages,

and other relief to redress an unlawful reverse-payment settlement agreement between Merck

and Glenmark/Par pursuant to which Merck agreed to pay Glenmark approximately $800 million

to delay its launch of generic Zetia for nearly five years. Merck’s payment to Glenmark took the

form of an agreement not to launch an authorized generic version of Zetia in competition with

Glenmark’s generic. Such agreements, in addition to being unlawful reverse-payment

agreements under FTC v. Actavis, Inc., 133 S. Ct. 2223 (2013), are per se unlawful horizontal

market-allocation agreements in which the relevant market is allocated temporally rather than

geographically—i.e., Glenmark agreed not to compete with Merck for nearly five years and, in

return, Merck agreed not to compete with Glenmark for an additional six months. Par, named

herein as a co-conspirator, became a member of the conspiracy by approving the unlawful

settlement agreement and agreeing to become the exclusive distributor of Glenmark’s generic

Zetia.

         2.     Reverse-payment agreements that include no-authorized-generic (“no-AG”)

provisions are even more anticompetitive than reverse-payment agreements in which the

payment is in cash. While cash payments delay generic entry, no-AG provisions delay generic

entry and continue to restrict competition even after generic entry because they ensure that only

one generic will be available rather than two, which means that purchasers of the generic drug
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will pay higher prices. Stated differently, the compensation received by the generic

manufacturer in a no-AG agreement comes in part from the brand manufacturer, which gives up

the profits it would have earned by selling an authorized generic, but also in part from purchasers

of the generic, who pay higher prices. Because competition from an authorized generic drives

down generic prices, the cost to the brand company of forgoing such sales is less than the benefit

to the generic, with purchasers paying the difference. This asymmetry explains the popularity of

no-AG agreements.

       3.      In the absence of the unlawful agreement between Merck and Glenmark/Par, both

companies would have launched generic versions of Zetia as early as December 2011 and, in any

event, long before the actual entry date of December 12, 2016. Additional generics would have

entered the market six months later. Giant Eagle and other purchasers would have substituted

lower-priced generic Zetia for higher-priced branded Zetia for the vast majority of their

purchases of the drug.

       4.      Giant Eagle is a direct purchaser or assignee of direct purchasers of Zetia and

members of the putative class for which class certification has been sought in FWK Holdings,

LLC v. Merck & Co., Inc., Civil Action No. 2:18-cv-23, pending in this Court. The statute of

limitations applicable to Giant Eagle’s claims has been tolled at least since the filing of the FWK

Holdings case on January 16, 2018.

                                        II.     PARTIES

       5.      Giant Eagle is a Pennsylvania corporation having its principal place of business at

101 Kappa Drive, Pittsburgh, PA 15238. Giant Eagle owns and operates retail stores in several

states at which it dispenses prescription drugs, including Zetia, to the public. Giant Eagle brings

this action on its own behalf and as the assignee of McKesson Corporation, a national

pharmaceutical wholesaler, which during the relevant period purchased Zetia directly from

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Merck for resale to Giant Eagle and which has assigned its claims arising out of those purchases

to Giant Eagle.

       6.     Defendant Merck & Co., Inc. is a New Jersey corporation having its principal

place of business at 2000 Galloping Hill Road, Kenilworth, New Jersey 07033. It is the parent

corporation of Defendants Merck Sharp & Dohme Corporation and MSP Singapore Company

LLC.

       7.     Defendant Merck Sharp & Dohme Corporation is a New Jersey corporation

having its principal place of business at 2000 Galloping Hill Road, Kenilworth, New Jersey

07033. It is a subsidiary of Defendant Merck & Co., Inc.

       8.     Defendant Schering-Plough Corporation was a New Jersey corporation having its

principal place of business at 2000 Galloping Hill Road, Kenilworth, New Jersey 07033.

       9.     Defendant Schering Corporation was a New Jersey corporation having its

principal place of business at 2000 Galloping Hill Road, Kenilworth, New Jersey 07033. It was

a wholly owned subsidiary of Schering-Plough Corporation.

       10.    Merck & Co., Inc. acquired Schering-Plough Corporation in 2009. As part of that

transaction, Merck & Co., Inc. merged into Schering-Plough Corporation, which subsequently

changed its name to Merck & Co., Inc. The company formerly known as Merck & Co., Inc.

changed its name to Merck Sharp & Dohme Corporation.

       11.    Defendant MSP Singapore Company LLC (“MSP”) is a Delaware limited liability

company having its principal place of business at 2000 Galloping Hill Road, Kenilworth, New

Jersey 07033. MSP is a subsidiary of Merck & Co., Inc.

       12.    Defendant Glenmark Pharmaceuticals Limited is an Indian corporation having its

principal place of business at Glenmark House, B.D. Sawant Marg, Andheri (E), Mumbai 400




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099, India, and its registered office at B/2 Mahalaxmi Chambers, 22, Bhulabhai Desai Road,

Mumbai 400 026, India.

       13.     Defendant Glenmark Pharmaceuticals Inc., USA is a Delaware corporation

having its principal place of business at 750 Corporate Drive, Mahwah, New Jersey 07430. It is

a wholly owned subsidiary of Glenmark Pharmaceuticals Limited. From 2002, when it was first

incorporated, Glenmark Pharmaceuticals Inc., USA has been referred to as, done business as,

and/or formally been known as, both Glenmark Pharmaceuticals Inc., USA and, at times,

Glenmark Generics Inc., USA. Glenmark Pharmaceuticals Limited, and Glenmark

Pharmaceuticals Inc., USA (including Glenmark Generics Inc., USA) are collectively referred to

in this complaint as “Glenmark.”

       14.     Co-Conspirator Par Pharmaceutical, Inc. (“Par”) is a New York corporation

having its principal place of business in Chestnut Ridge, New York. Par is a subsidiary of Endo

International plc, an Irish corporation with its U.S headquarters located in Malvern,

Pennsylvania. In September 2015, Endo completed its acquisition of Par Pharmaceuticals

Holdings, Inc. and its subsidiaries, including Par, and combined it with Endo’s existing generics

subsidiary, Qualitest Pharmaceuticals. In this complaint, “Par” encompasses its relevant

predecessors and successors.

       15.     All of the actions attributed to Defendants and Co-Conspirator Par in this

Complaint were authorized, ordered and done by their respective officers, agents, employees or

other representatives while actively engaged in the management of that Defendant’s or Co-

Conspirator’s affairs and within the course and scope of their agency or employment, and/or with

actual, apparent or ostensible authority.




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                                III.   JURISDICTION AND VENUE

       16.     This action arises under sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and

2, and section 4 of the Clayton Act, 15 U.S.C. § 15(a), seeking treble damages, costs of suit and

reasonable attorney’s fees for the injury sustained by Giant Eagle as a result of Merck’s unlawful

foreclosure of generic prescription ezetimibe sales in the United States. The Court has subject

matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a).

       17.     This Court has personal jurisdiction over Defendants, and venue is proper in this

district pursuant to 15 U.S.C. §§ 15(a) and 22 and 28 U.S.C. § 1391. During the relevant period,

each Defendant resided, transacted business, was found, or had agents in this district, and a

substantial portion of the alleged unlawful activity was carried out in this district.

                                       IV.   BACKGROUND

       A.      Characteristics of the Prescription Pharmaceutical Marketplace

       18.     The marketplace for the sale of prescription pharmaceutical products in the

United States suffers from a significant imperfection that brand manufacturers can exploit in

order to obtain or maintain market power in the sale of a particular pharmaceutical composition.

Markets function best when the person responsible for paying for a product is also the person

who chooses which product to purchase. When the same person has both the payment obligation

and the choice of products, the price of the product plays an appropriate role in the person’s

choice of products and, consequently, the manufacturers have an appropriate incentive to lower

the prices of their products.

       19.     The pharmaceutical marketplace, however, is characterized by a “disconnect”

between the payment obligation and the product selection. State laws prohibit pharmacists from

dispensing many pharmaceutical products, including Zetia, to patients without a prescription

written by a doctor. The prohibition on dispensing certain products without a prescription

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introduces a disconnect between the payment obligation and the product selection. The patient

(and in most cases his or her insurer) has the obligation to pay for the pharmaceutical product,

but the patient’s doctor chooses which product the patient will buy.

       20.     Brand manufacturers exploit this price disconnect by employing large forces of

sales representatives to visit doctors’ offices and persuade them to prescribe the manufacturer’s

products. These sales representatives do not advise doctors of the cost of the branded products.

Moreover, studies show that doctors typically are not aware of the relative costs of brand

pharmaceuticals and, even when they are aware of the relative costs, they are insensitive to price

differences because they do not have to pay for the products. The result is a marketplace in

which price plays a comparatively unimportant role in product selection.

       21.     The relative unimportance of price in the pharmaceutical marketplace reduces

what economists call the price elasticity of demand—the extent to which unit sales go down

when price goes up. This reduced price elasticity in turn gives brand manufacturers the ability to

raise price substantially above marginal cost without losing so many sales as to make the price

increase unprofitable. The ability to profitably raise price substantially above marginal cost is

what economists and antitrust courts refer to as market power. The result of the market

imperfections and marketing practices described above is to allow brand manufacturers to gain

and maintain market power with respect to many branded prescription pharmaceuticals.

       B.     The Regulatory Structure for Approval of Generic Drugs and the
       Substitution of Generic Drugs for Brand Name Drugs

       22.     Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain FDA approval to sell the product by filing a New Drug

Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include specific data concerning

the safety and effectiveness of the drug, as well as any information on applicable patents. 21

U.S.C. § 355(a), (b).
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       23.     When the FDA approves a brand manufacturer’s NDA, the drug product is listed

in an FDA publication titled Approved Drug Products with Therapeutic Equivalence

Evaluations, commonly known as the “Orange Book.” The manufacturer may list in the Orange

Book any patents that the manufacturer believes could reasonably be asserted against a generic

manufacturer that makes, uses, or sells a generic version of the brand drug before the expiration

of the listed patents. The manufacturer may subsequently list in the Orange Book within thirty

days of issuance any such patents issued after the FDA approves the NDA. 21 U.S.C. §§

355(b)(1) & (c)(2).

       24.     The FDA relies completely on the brand manufacturer’s truthfulness about patent

validity and applicability, as it does not have the resources or authority to verify the

manufacturer’s patents for accuracy or trustworthiness. In listing patents in the Orange Book,

the FDA merely performs a ministerial act.

       C.      The Hatch-Waxman Amendments

       25.     The Hatch-Waxman Amendments (also simply “Hatch-Waxman”), enacted in

1984, simplified the regulatory hurdles for prospective generic manufacturers by eliminating the

need for them to file lengthy and costly New Drug Applications (“NDAs”). See Drug Price

Competition and Patent Term Restoration Act of 1984, Pub. L. No. 98-417, 98 Stat. 1585, as

amended (1984). A manufacturer seeking approval to sell a generic version of a brand drug may

instead file an Abbreviated New Drug Application (“ANDA”). An ANDA relies on the

scientific findings of safety and effectiveness included in the brand manufacturer’s original

NDA, and must further show that the generic drug contains the same active ingredient(s), dosage

form, route of administration, and strength as the brand drug and is absorbed at the same rate and

to the same extent as the brand drug—that is, that the generic drug is pharmaceutically

equivalent and bioequivalent (together, “therapeutically equivalent”) to the brand drug. The


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FDA assigns oral-dosage-form generic drugs that are therapeutically equivalent to their brand-

name counterpart an “AB” rating.

       26.     Bioequivalence exists when the active ingredient of the proposed generic drug

would be present in the blood of a patient to the same extent and for the same amount of time as

the branded counterpart. 21 U.S.C. § 355(j)(8)(B).

       27.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of

legitimate (non-infringing) generic competitors, thereby reducing healthcare expenses

nationwide. Congress also sought to protect pharmaceutical manufacturers’ incentives to create

new and innovative products.

       28.     The Hatch-Waxman Amendments achieved both goals, advancing substantially

the rate of generic product launches, and ushering in an era of historically high profit margins for

brand manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-

selling drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984,

prescription drug revenue for branded and generic drugs totaled $21.6 billion; by 2009 total

prescription drug revenue had increased many-fold to $300 billion.

       D.      Paragraph IV Certifications

       29.     To obtain FDA approval of an ANDA, a manufacturer must certify that the

generic drug will not infringe any patents listed in the Orange Book. Under the Hatch-Waxman

Amendments, a generic manufacturer’s ANDA must contain one of four certifications:

        i.       that no patent for the brand drug has been filed with the FDA (a “Paragraph I
certification”);
        ii.      that the patent for the brand drug has expired (a “Paragraph II certification”);
        iii.     that the patent for the brand drug will expire on a particular date and the
manufacturer does not seek to market its generic product before that date (a “Paragraph III
certification”); or
        iv.      that the patent for the brand drug is invalid or will not be infringed by the generic
manufacturer’s proposed product (a “Paragraph IV certification”).



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       30.     If a generic manufacturer files a Paragraph IV certification, a brand manufacturer

can delay FDA approval of the ANDA simply by suing the ANDA applicant for patent

infringement. If the brand manufacturer initiates a patent infringement action against the generic

filer within forty-five days of receiving notification of the Paragraph IV certification (“Paragraph

IV Litigation”), the FDA will not grant final approval to the ANDA until the earlier of: (a) the

passage of 30 months, or (b) the issuance of a decision by a court that the patent is invalid or not

infringed by the generic manufacturer’s ANDA. Until one of those conditions occurs, the FDA

may grant “tentative approval,” but cannot authorize the generic manufacturer to market its

product. The FDA may grant an ANDA tentative approval when it determines that the ANDA

would otherwise be ready for final approval but for the 30-month stay.

       31.     As an incentive to spur manufacturers to seek approval of generic alternatives to

branded drugs, the first generic manufacturer to file an ANDA containing a Paragraph IV

certification typically gets a period of protection from competition from other generic versions of

the drug. For Paragraph IV certifications made after December 2003, the first generic applicant

receives 180 days of market exclusivity. This means that the first approved generic is the only

available generic for at least six months, which effectively creates a duopoly between the brand

company and the first-filing generic during this period. This 180-day exclusivity period is

extremely valuable to generic companies. While only one generic is on the market, the generic

price, while lower than the branded price, is much higher than after multiple generic competitors

enter the market. Generics are usually at least 25% less expensive than their brand name

counterparts when there is a single generic competitor, but this discount typically increases to

50% to 80% (or more) when there are multiple generic competitors on the market. Being able to

sell at the higher duopoly price for six months may be worth hundreds of millions of dollars.




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       32.     The first generic applicant can help the brand manufacturer “game the system” by

delaying not only its own market entry, but also the market entry of all other generic

manufacturers. The first generic applicant, by agreeing not to begin marketing its generic drug,

thereby delays the start of the 180-day period of generic market exclusivity. This tactic creates a

“bottleneck” because later generic applicants cannot launch until the first generic applicant’s

180-day exclusivity has elapsed or is forfeited.

       E.      Benefits of Generic Drugs

       33.     Generic versions of brand name drugs contain the same active ingredient and are

determined by the FDA to be just as safe and effective, as their brand name counterparts. The

only material difference between generic and brand name drugs is their price. The launch of a

generic drug thus usually brings huge cost savings for all drug purchasers. The Federal Trade

Commission (“FTC”) estimates that, by one year after market entry, the generic version takes

over 90% of the brand’s unit sales and sells for 15% of the price of the brand name product. In

retail pharmacy chains, such as Giant Eagle, a generic typically achieves at least an 80%

substitution rate within 90 days. As a result, brand name companies, such as Merck, view

competition from generic drugs as a grave threat to their bottom lines.

       34.     Due to the price differentials between brand and generic drugs, and other

institutional features of the pharmaceutical industry, including state generic substitution laws,

pharmacists liberally and substantially substitute for the generic version when presented with a

prescription for the brand-name counterpart. Since passage of the Hatch-Waxman Amendments,

every state has adopted substitution laws that either require or permit pharmacies to substitute

generic equivalents for branded prescriptions (unless the prescribing physician has specifically

ordered otherwise by writing “dispense as written” or similar language on the prescription).




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        35.     There is an incentive to choose the less expensive generic equivalent in every link

in the prescription drug chain. Pharmaceutical wholesalers and retailers pay lower prices to

acquire generic drugs than to acquire the corresponding brand-name drug. Health insurers and

patients also benefit from the lower prices of generic products.

        36.     Until a generic version of the brand drug enters the market, there is no

bioequivalent generic drug to substitute for, and to compete with, the branded drug, and therefore

the brand manufacturer can continue to profitably charge very high prices (relative to cost)

without losing sales. As a result, brand manufacturers, who are well aware of generics’ rapid

erosion of their brand sales, have a strong incentive to delay the introduction of generic

competition into the market, including by using tactics such as the agreement at issue here.

        F.      The Impact of Authorized Generics

        37.     The 180-day marketing exclusivity to which first-filer generics may be entitled

does not prevent a brand manufacturer from marketing its own generic alternative to the brand

drug during the exclusivity period pursuant to its own approved NDA. Such an “authorized

generic” is literally identical to the brand drug but is sold as a generic product either by the brand

manufacturer itself or through an authorized third party. Competition from an authorized generic

during the 180-day exclusivity period substantially reduces the price of both the ANDA filer’s

generic drug and the authorized generic and, in addition, forces the first-filer to share the generic

sales made at those lower prices with the brand-name manufacturer. Both of these effects reduce

the first-filer’s revenues and profits.

        38.     In its study, Authorized Generic Drugs: Short-term Effects and Long-Term Impact

(August 2011), the Federal Trade Commission found that authorized generics capture a

significant portion of sales, reducing the revenues generated by the first-filer’s generic product

by approximately 50% during the 180-day exclusivity period. The first-filing generic makes


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significantly less money when it faces competition from an authorized generic because (1) the

authorized generic takes a large share of unit sales away from the first-filer; and (2) the presence

of an additional generic in the market causes prices to decrease.

       39.     Although first-filing generic manufacturers make significantly less money when

they must compete with an authorized generic during the first 180 days, drug purchasers benefit

from the lower prices caused by competition between the authorized generic and the first-filing

generic.

       40.     As a practical matter, authorized generics are the only means by which brand-

name manufacturers engage in price competition with manufacturers of AB-rated generic drugs.

Brand-name manufacturers generally do not reduce the price of their branded drug in response to

the entry of an AB-rated generic. Instead, they either raise the price to extract higher prices from

the small number of “brand-loyal” patients or, more typically, they continue to raise the price of

the branded drug at the same rate at which it was raised prior to generic entry.

       41.     Given the significant negative impact of an authorized generic on the first-filing

generic’s revenues, and the absence of any other form of price competition from the branded

manufacturer, a brand manufacturer’s agreement not to launch an authorized generic has

tremendous economic value to the generic manufacturer. Brand manufacturers have used such

agreements as a way to pay the first-filer to delay entering the market. Such agreements deprive

drug purchasers such as Giant Eagle of the lower prices resulting from two forms of competition.

During the initial period of delay agreed to by the ANDA filer, they effectively eliminate all

competition from AB-rated generic products and allow the brand manufacturer to preserve its

monopoly. And, during the period in which the branded company has agreed not to sell an

authorized generic, they eliminate competition between the ANDA filer’s generic and the

authorized generic, giving the ANDA filer a monopoly on generic sales.

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          42.   As a means of compensating first-filing generic manufacturers, brand

manufacturers prefer no-AG agreements to cash payments because, in the case of no-AG

agreements, a portion of the compensation is paid by purchasers of the drug in the form of higher

generic drug prices. The generic manufacturer receives not only the profits that the brand

manufacturer would have made by launching an authorized generic in competition with the

ANDA filer’s product, but also the higher prices that result from the absence of that competition.

Thus, the payment to the generic manufacturer is shared between the brand manufacturer and the

generic manufacturer’s customers.

                                  V.     OPERATIVE FACTS

          A.    Cholesterol-lowering drugs.

          43.   Cholesterol is essential in constructing and maintaining membranes in animal

cells. It makes up part of the myelin sheath that insulates nerve cells and facilitates conducting

nerve impulses. It is also an important precursor for making vitamin D and steroid hormones in

the body.

          44.   Our bodies derive cholesterol from two sources. We make cholesterol, mostly in

our livers. Our bodies also absorb cholesterol through our intestines. This absorption includes

both cholesterol from the foods we eat and the cholesterol we make. About 50% of the

cholesterol made in our livers is reabsorbed through our intestines.

          45.   High cholesterol is associated with coronary heart disease and atherosclerosis in

some populations. Atherosclerotic coronary heart disease is a major cause of death and

cardiovascular morbidity in the western world.

          46.   In the 1950s, scientists developed several drugs thought to lower cholesterol

levels.




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        47.        In 1953, scientists in France reported that phylacetic acid and its analogues –

fibrates – lowered cholesterol levels. This discovery led to the approval of ethyl ester clofibrate

in the U.S. in 1967; it was later found to have unacceptable side effects and was replaced with

other fibrates.1

        48.        In the 1970s and 80s, scientists discovered a group of cholesterol-lowering drugs

known as statins. Statins lower cholesterol levels by inhibiting the enzyme that regulates the

production of cholesterol in the liver, HMG-CoA reductase. In 1987, Merck launched the first

statin: lovastatin. Merck later launched a second statin: simvastatin. Other drug companies –

including Sankyo, Novartis, Pfizer, and AstraZeneca – followed suit. Statins, as a class, were for

many years the most profitable drugs in pharmaceutical history.

        49.        The 1990s saw a renewed interest in fibrates as (1) cholesterol lowering drugs had

become big business, (2) their mechanism of action became better understood, and (3) clinical

trials demonstrated the efficacy of fibrates on cardiovascular events. Scientists had discovered

that fibrates inhibited the enzyme Acyl-CoA cholesterol acyltransferase (ACAT), which blocked

the absorption of cholesterol in the intestine (and may also inhibit cholesterol deposited within

vascular walls). And clinical data showed that fibrates worked. So, while statins had become first

line treatments, fibrates were still widely prescribed.

         B.    Early 1990s: Merck develops hydroxyl-substituted azetidinone compounds
        useful as hypocholesterolemic agents.

        50.        In the early 1990s, Merck embarked on a broad chemical program to discover

novel ACAT inhibitors. Scientists working in Schering’s New Jersey facilities began developing




        1
          In the 1980s, scientists discovered that fibrates worked by interacting with the peroxiosome
proliferator-activated receptors (PPAR-α) in the liver, muscle, and other tissues.

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azetidinone compounds to reduce cholesterol levels in humans. Those scientists included Stuart

B. Rosenblum, Sundeep Dugar, Duane A. Burnett, John W. Clader, and Brian McKittrick.

       51.     In lab experiments conducted over a couple of years or less, these scientists

identified a lead compound, SCH48461, and inherent metabolites and metabolite-like analogues

of that compound, including SCH58235 or “ezetimibe.” (Ezetimibe would eventually become

the active ingredient in Zetia).

       52.     SCH 48461 is (3R,3S)-1,4-bis-(4-methoxyphenyl)-3-(3-phenylpropyl)-2-

azetidinone.2 It is pictured in Figure 4 below.

Figure 4. SCH 48461




       53.     SCH 58235 is 1-(4-fluorophenyl)-(3R)-[3-(4-fluorophenyl)-(3s)-hydroxypropyl]-

(4S)-(4-hydroxypheyl)-2-azetidinone.3 The use of halogen to block sites of metabolism was then

well known. To create SCH 58235, Merck scientists used routine laboratory techniques to add




       2
           See Brian G. Salisbury, Hypocholesterolemic Activity of a Novel Inhibitor of Cholesterol
Absorption, SCH 48461, 115 Atherosclerosis 45 (1995); Duane A. Burnett et al., 2-Azetidinones as
Inhibitors of Cholesterol Absorption, 37 J. Med. Chem. 1733 (1994).
       3
          Stuart B. Rosenblum, Discovery of 1-(4-Fluorophenyl)-(3R)-[3-(4-fluorophenyl)-(3S)-
hydroxypropyl]-(4S)-(4-hydroxyphenyl)-2-azetidinone (SCH 58235): A Designed, Potent, Orally Active
Inhibitor of Cholesterol Absorption, 41 J. Med. Chem. 973 (1998).

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fluorine to the two phenyl rings, in order to lessen the likelihood of hydroxylation (and thereby

keep the compound in the body longer). It is pictured in Figure 5 below.

Figure 5. SCH 58235, Ezetimibe




        54.      Upon discovering these and other useful compounds (and their metabolites) and

recognizing their potential to be developed into lucrative prescription drugs down the road,

Merck set out to obtain broad patent protection.

        55.      Merck knew that publishing journal articles about its research and development

could potentially undermine its ability to patent its inventions. So, while its discoveries occurred

in the early 1990s, its scientists did not publish their discoveries until after the first patent

application was filed and, in some instances, only wrote about the development process over a

decade later.4


        4
          See John W. Clader, Ezetimibe and other Azetidinone Cholesterol Absorption Inhibitors, 5
Current Topics Med. Chem. 243 (2005); John W. Clader, The Discovery of Ezetimibe: A View from
Outside the Receptor, 47 J. Med. Chem. 1 (2004); Stuart B. Rosenblum et al., Discovery of 1-(4-
Fluorophenyl)-(3R)-[3-(4-fluorophenyl)-(3S)-hydroxypropyl]-(4S)-(4-hydroxyphenyl)-2-azetidinone
(SCH58235): A Designed, Potent, Orally Active Inhibitor of Cholesterol Absorption, 41 J. Med. Chem.
973 (1998); Margaret Van Heek et al., In Vivo Metabolism-Based Discovery of a Potent Cholesterol
Absorption Inhibitor, SCH58235, in the Rat and Rhesus Monkey through the Identification of the Active
Metabolites of SCH 48461, 283 J. Pharmacology & Experimental Therapeutics 157 (1997); Sundeep
Dugar et al., Metabolism and Structure Activity Data Based Drug Design: Discovery of (-) SCH 53079, an
Analog of the Potent Cholesterol Absorption Inhibitor (-) SCH 48461, 11 Bioorganic & Med. Chem.
Letters 1271 (1996); John W. Clader et al., 2-Azetidinone Cholesterol Absorption Inhibitors: Structure-
                                                   16
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        C.     1993-1998: Merck applies for, and obtains, the original azetidinone patents
        (the ’365, ’115, and ’966 patents).

        56.     Beginning in 1993, Merck filed a series of related U.S. patent applications

addressing hydroxyl-substituted azetidinone compounds useful as hypocholesteremic agents.5

Three issued as patents; one of these then reissued twice.

        57.     For shorthand, the family of patents resulting from these applications can be

referred to as “the azetidinone patents.” All told, the azetidinone patents include the ’365 patent,

the ‘115 patent, the ’966 patent, the RE’721 patent, and the RE’461 patent.




Activity Relationships on the Heterocyclic Nucleus, 39 J. Med. Chem. 3684 (1996); Brian A. McKittrick et
al., Stereoselective Synthesis and Biological Activity of Cis Azetidinones as Cholesterol Absorption
Inhibitors, 16 Bioorganic & Med. Chem. Letters 1947 (1996); Brian G. Salisbury et al.,
Hypocholesterolemic Activity of a Novel Inhibitor of Cholesterol Absorption, SCH 48461, 115
Atherosclerosis 45 (1995); Sundeep Dugar et al., Gamma-Lactams and Related Compounds as
Cholesterol Absorption Inhibitors: Homologs of the β-Lactam Cholesterol Absorption Inhibitor SCH
48461, 24 Bioorganic & Med. Chem. Letters 2947 (1995); Stuart B. Rosenblum et al., Abstract,
Discovery of SCH 58235: A Potent Orally Active Inhibitor of Cholesterol Absorption, Baylor College of
Medicine XII International Symposium on Drugs Affecting Lipid Metabolism (Nov. 7-10, 1995); Duane
A. Burnett et al., 2-Azetidinones as Inhibitors of Cholesterol Absorption, 37 J. Med. Chem. 1733 (1994).
        5
         All of the patent applications and communications with the PTO described herein were done by
Schering Corporation and its agents, unless otherwise noted.

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Figure 6. The Azetidinone Patents




   *All expiration dates are calculated without pediatric exclusivity extensions.




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       (1)     1993-1994: Merck files two patent applications addressing hydroxyl-
               substituted azetidinone compounds useful as hypocholesteremic agents.

       58.     On September 21, 1993, Merck filed U.S. Patent Application 102,440, entitled

“Hydroxy-Substituted Azetidinone Compounds Useful As Hypocholesterolemic Agents.” Merck

abandoned the application.

       59.     On June 9, 1994, Merck filed U.S. Patent Application 257,593 as a continuation-

in-part of the abandoned ’440 application.

       60.     Both the ’440 application and the ’593 application disclosed that the inventions

described were useful as hypocholesterolemic agents in the treatment and prevention of

atherosclerosis – the hardening and narrowing of the arteries due to build-up of fats and

cholesterol on artery walls. These applications explained that the liver is the major organ

responsible for cholesterol biosynthesis and is the prime determinant of plasma cholesterol

levels. When intestinal cholesterol absorption is reduced, less cholesterol is delivered to the liver,

which makes less hepatic lipoprotein and clears more plasma cholesterol (mostly LDL). As

Merck put it, “the net effect of inhibiting intestinal cholesterol absorption is a decrease in plasma

cholesterol levels.”

       61.     Merck went on to prosecute the ’593 application for about three years.

       (2)     1994-1996: Merck files a third and fourth patent application addressing
               hydroxyl-substituted azetidinone compounds.

       62.     On September 14, 1994, Merck filed the PCT/US94/10099 application as a

continuation-in-part of the ’593 application. The PCT’099 application added two example

compounds in the specification, 3L and 3M, as well as in vivo data for 3L, 3M, and 6A-1.

       63.     On March 18, 1996, the PCT’0099 application became U.S. Patent Application

No. 617,751. The specification for the ’751 application, as filed, was identical to the

specification of the PCT’0099 application.

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       64.     Merck went on to prosecute the ’751 application for a little over two years.

       (3)     1994-Early 1997: Merck obtains its first azetidinone patent, covering
               processes (the ’365 patent).

       65.     On May 20, 1997, the ’593 application – Merck’s second azetidinone patent

application – issued as U.S. Patent No. 5,631,365. The ’365 patent was the first-issued Merck

azetidinone patent.

       66.     The named inventors of the ’365 patent are Drs. Rosenblum, Dugar, Burnett,

Clader, and McKittrick. All worked for Schering in New Jersey.

       67.     The ’365 patent was originally assigned to Schering Corporation of Kenilworth,

N.J. In 2012, Merck Sharp & Dohme became the assignee of the ’365 patent by means of a

conveyance from Schering Corporation.

       68.     The ’365 patent states that “the present invention relates to hydroxyl-substituted

azetidinones useful as hypocholesterolemic agents in the treatment and prevention of

atherosclerosis . . . the invention also related to a process for preparing hydroxyl-substituted

azetidinones.” It observes that “[a] few azetidinones have been reported as being useful in

lowering cholesterol and/or in inhibiting the formation of cholesterol-containing lesions in

mammalian arterial walls,” citing U.S. Patent No. 4,983,594; Ran, Indian J. Chem. (1990);

European Patent Publication No. 264,231; European Patent No. 199,630; and European Patent

Application No. 337,549.

       69.     The summary of the invention describes hypocholesterolemic compounds of

formula I or a pharmaceutically acceptable salt of those compounds. It also states that the

invention “relates to” all of the following:

               •   “[A] method of lowering the serum cholesterol level in a mammal in need of
                   such treatment comprising administering an effective amount of a compound
                   of formula I,”



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               •   “[A] pharmaceutical composition comprising a serum cholesterol lowering
                   effective amount of a compounds of formula I in a pharmaceutically
                   acceptable carrier;”

               •   “[T]he use of a hydroxyl-substituted azetidinone cholesterol absorption
                   inhibitor of formula I for combined use with a cholesterol biosynthesis
                   inhibitors [e.g., statins] … to treat or prevent atherosclerosis or to reduce
                   plasma cholesterol levels;” and

               •   “[A] process for preparing certain compounds of formula I comprising [five
                   specific steps].”

Figure 7. Hypocholesterolemic Compounds of Formula I




       70.     The specification confirms that the invention includes both enantiomers and

racemic mixtures, and that one enantiomer may lead to greater cholesterol inhibition than

another: “all isomers, including enantiomers . . . are contemplated as being part of this invention

. . . including racemic mixtures.” “Isomers can be prepared using conventional techniques, either

by reacting chiral starting materials or by separating isomers of a compounds of formula I.”

“Those skilled in the art will appreciate that for some compounds of formula I, one isomer will

show greater pharmacological activity than another isomer.”

       71.     The specification notes that compounds of the invention can exist in

“pharmaceutically acceptable” salt forms, identifies at least two dozen salt forms, and describes

how to prepare salt forms.




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       72.     The specification notes that “Compounds of formula I can be prepared by known

methods, for example those described below and in WO93/02048,” and then describes several

methods of preparation. It then discloses that many, if not all, of the “starting compounds” used

are “either commercially available or well known in the art and can be prepared via known

methods.”

       73.     The specification notes: “We have found that the compounds of this invention

lower serum lipid levels, in particular serum cholesterol levels. Compounds of this invention

have been found to inhibit the intestinal absorption of cholesterol and to significantly reduce the

formation of liver cholesteryl (sic) esters in animal models. Thus, compounds of this invention

are hypocholesterolemic agents by virtue of their ability to inhibit the intestinal absorption and/or

esterification of cholesterol; they are, therefore, useful in the treatment and prevention of

atherosclerosis in mammals; in particular in humans.” It goes on to describe the procedure used

to determine the in vivo activity of the compounds of formula I, using the “hyperlipidemic

Hamster.”

       74.     The ’365 patent has four claims. All four claims claim a process of preparing a

compound of formula I. Claims 1 and 3 are independent claims; Claims 2 and 4 depend on

claims 1 and 3, respectively.

       75.     The ’365 patent expired on May 20, 2014.

       (4)     Late 1997: Merck files a fifth patent application addressing azetidinones, this
               one addressing combination use with statins.

       76.     On October 14, 1997, Merck filed U.S. Patent Application 953,825 – titled

“combinations of hydroxyl-substituted azetidinone compounds and HMG CoA reductase

inhibitors” – as a continuation-in-part of the ’751 application.




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       (5)     Mid-1998: Merck obtains a second azetidinone patent covering compounds, a
               composition, and a method of treating atherosclerosis (the ’115 patent).

       77.     On June 16, 1998, the ’751 application issued as U.S. Patent No. 5,767,115. The

’115 patent had nine claims. Claims 1-7 claim compounds, claim 8 claims a pharmaceutical

composition for the treatment or prevention of atherosclerosis (or for the reduction of plasma

cholesterol levels), and claim 9 covers a method of treating or preventing atherosclerosis (or

reducing plasma cholesterol levels) comprising administering to a mammal in need of such

treatment an effective amount of a compound of claim 1.

       78.     Ezetimibe (the active ingredient in Zetia) is within the scope of claims 1-3, 5, and

7 of the ’115 patent. Ezetimibe is designated “6A” and is described in Example 6 at column 31,

lines 1-10 of the specification and in claim 7 at column 40, lines 19-21.

       79.     According to Merck, the ’115 patent expired on June 16, 2015.

       (6)     Late 1998: Merck obtains a third azetidinone patent for use in combination
               with statins (the ’966 patent).

       80.     On December 9, 1998, the ’825 application issued as U.S. Patent No. 5,846,966.

       81.     All claims in the ’966 patent refer to a hydroxyl-substituted azetidinone used in

combination with an HMG CoA reductase inhibitor – i.e., a statin. Claim 1 refers to hydroxyl

substituted azetidinone compounds used in combination, claims 2-5 refer to compositions of

those compounds used in combination, and claim 6 refers to methods of treating or preventing

atherosclerosis or reducing plasma cholesterol levels in combination with statins. Claim 8

explicitly refers to simvastatin (the active ingredient in Merck’s Zocor) and atorvastatin (the

active ingredient in Pfizer’s Lipitor).

       D.      2000: Merck asks the PTO to reissue the ‘115 patent with new ezetimibe
       claims.

       82.     In early 2000, Merck – including Schering Corporation – was preparing a New

Drug Application for the drug product that came to be known as Zetia. Merck closely reviewed
                                                23
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the existing patent portfolio, knowing, as all sophisticated pharmaceutical manufacturers do, that

the FDA would require them to identify the patents that claim the Zetia product (or a method of

using it) by listing them in the Orange Book.

       83.     On June 15, 2000, Merck filed Reissue Application No. 09/594,996, asking the

PTO to reissue the ’115 patent. In preliminary remarks, Merck stated that the reissue application

was filed “to correct an error concerning the failure to appreciate the full scope of the invention

by not including claims of narrower scope directed to one of the most preferred compounds

disclosed in the specification,” namely, ezetimibe (described as 1-(4-fluoro[phenyl)-3(R)-[3(S)-

(4 fluorophenyl)-3-hydroxypropyl)]-4(S)-(4-hydroxyphenyl)-2-azetidinone). Merck proposed

adding claims 10-13, claiming the ezetimibe compound (in both prose and graphic form, claims

10 and 11), a pharmaceutical composition for the treatment or prevention of atherosclerosis or

the reduction of plasma cholesterol levels (claim 12), a method of treating or preventing

atherosclerosis or reducing plasma cholesterol levels (claim 13), and a method of use thereof.

       84.     Merck submitted a declaration in support of reissue signed by James R. Nelson,

Staff Vice President and Associate General Counsel, Patents & Trademarks at Schering-Plough

Corporation and Vice President at Schering Corporation. Nelson described the error as “the

failure to include a specific claim to one of the most preferred compounds.”

       E.     2001-2002: Merck obtains approval for Zetia, the RE’721 patent, and a
       corresponding 16-month patent term extension.

       (1)     2001: Merck files an NDA for Zetia.

       85.     On December 27, 2001, while the application for reissue was pending, Merck

submitted NDA 21445 seeking FDA approval to market ezetimibe tablets in the United States

under the brand name Zetia for the treatment of hypercholesterolemia.

       86.     The NDA sponsor is sometimes identified as Merck/Schering-Plough

Pharmaceuticals and sometimes as MSP Singapore Company LLC. The proposed labeling
                                                 24
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submitted with the NDA is marked “COPYRIGHT Merck/Schering-Plough Pharmaceuticals.” In

correspondence, Schering Corporation is identified as the U.S. agent for MSP Singapore. During

its review, the FDA corresponded with Schering’s Regulatory Affairs department, including with

Joseph F. Lamendola, Jack Scannelli, and Beth DiDomenico.

       87.     The FDA’s review of Zetia took about ten months. Merck later sought and

obtained a patent term extension for the period of time encompassed by this regulatory review

(discussed below).

       (2)     2002: The PTO reissues the ’115 patent as the RE’721 patent.

       88.     On May 28, 2002, the RE’966 application issued as U.S. Patent No. RE37,721

with new claims 10-13. These included the compound ezetimibe (claims 10-11), a composition

of ezetimibe (claim 12), and a method of using ezetimibe to treat or prevent atherosclerosis or

reduce plasma cholesterol levels (claims 13).

       (3)     2002: The FDA approves Zetia.

       89.     On October 25, 2002, the FDA approved the Zetia NDA and granted it a five-year

New Chemical Entity (“NCE”) exclusivity. Merck launched Zetia later that month. Zetia quickly

became a steady source of profits for Merck, with annual U.S. sales of about $1 billion in 2010

and $2.6 billion by 2016.

       90.     The originally approved labeling reflects that Zetia is manufactured for

Merck/Schering-Plough Pharmaceuticals by Schering Corporation or Merck & Co., Inc.

       (4)     2002: Merck seeks a 16-month patent term extension for the RE’721 patent.

       91.     On December 12, 2002, Merck – via James R. Nelson of Schering – requested an

extension of the patent term of the RE’721 patent based on the duration of the FDA’s review of

the Zetia NDA (pursuant to 35 U.S.C. § 156 and 37 C.F.R. §§ 1.710-1.791). Merck asked that

an additional 497 days of patent term be added.

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       92.     Ultimately, on January 17, 2006, the RE’721 patent was extended through

October 25, 2016. The PTO (in reliance on information obtained from Schering and confirmed

by the FDA) determined that the RE’721 patent was eligible for a patent term extension of 497

days. The PTO noted that the period of FDA review was 948 days but noted that 35 U.S.C. §

156(c)(3) operates to limit the term of the extension: “the term of the patent measured from the

date of approval of the approved product plus any patent term extension cannot exceed fourteen

years.” With the extension, the RE’721 patent was set to expire on October 25, 2016 (fourteen

years from the date of FDA approval).

       F.     2006: Merck obtains its first “sterol non-absorption” patent (the ’106
       patent).

       93.     After Merck filed its NDA, but before it was approved, Merck sought to extend its

patent protection for Zetia. Merck filed a series of patent applications relating to compounds that

inhibit sterol absorption and methods for treating specific conditions with those compounds. Two

issued as patents (the ’106 patent and the ’058 patent). For shorthand, we refer to this family of

patents as “the sterol non-absorption” applications and patents.

       94.     The sterol non-absorption applications did not claim priority to, or derive from,

the azetidinone applications. Nor did they share any inventors.




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Figure 8. The Sterol Non-Absorption Patents




        95.     On April 18, 2006, Merck’s Application No. 10/136,9686 issued as U.S. Patent

No. 7,030,106. The ’106 patent was Merck’s first sterol non-absorption patent. It has two claims.

The inventor is Wing-Kee Philip Cho of Princeton, NJ. The assignee was originally Schering

Corporation.

        96.     According to Merck, the ’106 patent originally was set to expire on January 25,

2022, but, with a pediatric extension, is now set to expire on July 25, 2022.




        6
          On January 25, 2002, Merck filed Utility Application No. 10/057,323. The ’323 application
claimed priority to two provisional applications, filed on January 26, 2001 and September 21, 2001,
respectively. It did not claim priority to, nor was it related to, the azetidinone patents described above. On
May 1, 2002, Merck filed Application No. 10/136,968 as a divisional of the ’323 application. The primary
examiner was San-Ming Hui. The ’323 and ’968 applications purported to address compounds and
compositions that inhibited sterol absorption.

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        97.     The ’106 patent specification says that “the present invention relates to

therapeutic combinations of peroxisome proliferator-activated receptor (PPAR) activator(s) and

sterol absorption inhibitor(s) for treating vascular conditions (including atherosclerosis)”

(emphasis added).

        98.     But neither of the claims in the ’106 patent refers to combination use. Both claim

pharmaceutical compositions of ezetimibe that were earlier disclosed in the RE’721 patent.7

Given this and other earlier disclosures, the ’106 patent is, and clearly was at the time of its

issuance, invalid as obvious and/or for obviousness-type double patenting.

        99.     By this time, Merck/Schering had listed in the Orange Book the RE’721

azetidinone patent, the ’966 combination-with-statins patent, and the ’106 sterol non-absorption

patent. The ‘365 process patent was not listed in the Orange Book, likely because process

patents – unlike product or method of use patents – are not eligible for listing.

        G.      2006: Glenmark files the first ANDA for generic Zetia.

        100.    On or about October 25, 2006, generic drug manufacturer Glenmark filed ANDA

78-560, seeking FDA approval to market an AB-rated generic version of Zetia. That day was the

first day on which applicants to market generic versions of Zetia were permitted to file an ANDA

for that product—one year before expiration of Merck’s five-year NCE exclusivity—and then

only if the ANDA included a paragraph IV certification.




        7
           The compound represented in Formula II of claims 1 and 2 of the ’106 patent is ezetimibe. The
table in claims 1 and 2 describing the composition lists lactose monohydrate (a sugar); microcrystalline
cellulose (a starch); povidone (a disintegrant); crosscarmellose sodium (a dissolving agent); sodium lauryl
sulfate (a foaming agent); and magnesium stearate (a release agent). All are conventional excipients and
additives. The RE’721 specification explicitly refers to compositions made using conventional excipients
and additives and conventional techniques, including “non-toxic compatible fillers, binders, disintegrants,
buffers, preservatives, antioxidants, lubricants, flavorings, thickeners, coloring agents, emulsifiers, and
the like.”

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        101.    Merck’s new chemical entity exclusivity expired on October 25, 2007, one year

from the date Glenmark filed. Glenmark could not come to market until after that exclusivity

expired.
       102.     Glenmark’s ANDA included a paragraph IV certification to all of the patents then

listed in the Orange Book: the RE’721 azetidinone patent, the ’966 combination-with-statins

patent, and the ’106 sterol non-absorption patent.8

        H.      2007-2008: Merck sues first-filer Glenmark; Glenmark counterclaims.

        (1)     Early 2007: Merck sues Glenmark for infringing the RE’721 patent (only).

        103.    On or about February 9, 2007, Glenmark notified Merck of its ANDA filing and

provided a detailed account of why the patents were invalid, unenforceable, and not infringed by

Glenmark’s ANDA product (“Glenmark’s paragraph IV letter”).

        104.    On March 22, 2007, Merck9 sued Glenmark in the District of New Jersey. Merck

alleged that Glenmark’s ANDA infringed the RE’721 patent (only).

        105.    Merck did not sue Glenmark, in this suit or any other, for infringing the two other

Orange-Book-listed patents, the ’966 and the ’106 patents. Merck apparently did not believe that

it could realistically expect to win a lawsuit asserting that Glenmark’s generic ezetimibe product

would infringe the ’966 combination-with-statins azetidinone patent or the ’106 sterol

nonabsorption patent because those patents were inapplicable, invalid, or not infringed.

Glenmark’s product did not include a statin. And the unasserted ’106 patent was, and is, invalid

as obvious (as described above).




        8
           Because the ’365 process patent was not listed in the Orange Book, Glenmark did not need to
certify to it in its ANDA.
        9
         In this litigation, defendants Schering Corporation and MSP Singapore Company LLC referred
to themselves collectively as “Schering.” Giant Eagle refers to them here as “Merck” instead.

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        106.    Under the Hatch-Waxman Act, Merck’s filing of the RE’721 lawsuit –

irrespective of its prospects of success – triggered a 30-month stay, running from the date

Glenmark notified Merck of its paragraph IV letter. This stay prevented the FDA from granting

final approval of Glenmark’s ANDA until the earlier of (i) the expiration of the thirty-month

stay, or (ii) entry of a final judgment that the RE’721 patent was invalid, unenforceable, and/or

not infringed. 10

        107.    Glenmark represented in a pleading early on that “[t]he amount at issue in this

case is at least $1 billion, representing the anticipated sales by Glenmark of its generic product

(and the corresponding loss of sales by [Merck]).”

        (2)     Spring 2007: Glenmark counterclaims, alleging the RE’721 patent is invalid
                and unenforceable.

        108.    On May 23, 2007, Glenmark answered, listed its affirmative defenses, and

counterclaimed.11 Glenmark sought a declaratory judgment that the RE’721 patent was invalid

and/or unenforceable. Glenmark asserted that the RE’721 patent was invalid for double

patenting, anticipation, obviousness, lack of enablement, and inventorship issues. Glenmark also

asserted that the RE’721 patent was unenforceable due to inequitable conduct and that Merck

was estopped or precluded from asserting infringement by reasons of actions taken and

statements made to the PTO during prosecution of the application(s) that led to the RE’721

patent.12 Glenmark refined these arguments as the litigation progressed.



        10
           Thirty months from the date Glenmark sent its paragraph IV certification is August 9, 2009. At
one point during the litigation, Merck asserted that the 30-month stay expired on October 25, 2010. Giant
Eagle alleges here that generics would have entered as early as December 6, 2011, so the day on which
the stay expired – under either interpretation – is before alleged generic entry.
        11
         Glenmark filed a corrected answer on June 7, 2007. On March 10, 2008, Glenmark filed a first
amended answer and counterclaim.
        12
          In Glenmark’s first amended answer and counterclaim, filed on March 10, 2008, it added a
claim asserting that the 497-day patent term extension Merck received for the RE’721 patent was invalid.

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        109.    Invalid for inherent anticipation. Glenmark argued that at least two compounds

claimed in the RE’721 patent are inherent metabolites of a hypercholesterolemic compound

(SCH48461) disclosed in an earlier Schering patent application. Merck had disclosed two

compounds claimed in the RE’721 patent in an earlier patent application: International

Application No. PCT/US92/05972, filed on July 21, 1992 and published on February 4, 1993 as

WO 93/02048 (the “PCT’048 publication”).13 Upon ingestion, at least one of these earlier

disclosed compounds, SCH48461 (disclosed as Example 9), is metabolized to form two

hydroxyl-substituted compounds that are both claimed in the RE’721 patent. These metabolites

inherently anticipate the claims of the RE’721 patent.

        110.    Under the doctrine of inherent anticipation, “a prior art reference may anticipate

without disclosing a feature of the claimed invention if that missing characteristic is necessarily

present, or inherent, in the single anticipating reference.” 14

        111.    Merck and Schering were well aware of the doctrine of inherent anticipation. That

doctrine featured prominently in a case Schering brought against Geneva Pharmaceuticals for

allegedly infringing a patent for the prescription drug Claritin. There, on August 8, 2002, the

district court concluded that “the natural, inevitable production of metabolic DCL upon human

ingestion of loratadine, although not fully appreciated by persons of ordinary skill in that field

until more recently . . . , demonstrates that this process is an inherent characteristic or functioning

of the use of loratadine, the subject of the ’233 patent. Therefore, that patent inherently

anticipates Claims 1 and 3 of the ’716 patent, rendering them invalid.” The district court


        13
          The named co-inventors of PCT’048 are Duane A. Burnett, John W. Clader, Tiruvettipuram K.
Thiruvengadem, Chou-Hong Tann, and Junning Lee. Burnett and Clader are named as co-inventors of the
’721 patent. The publication date of the PCT’048 predates all applications to which the RE’721 claims
priority.
        14
          Schering Corp. v. Geneva Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003) (citing Cont’l
Can Co. v. Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir. 1991)), reh’g denied, 348 F.3d 992 (2003).

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observed that “this is not a new doctrine,” and cited cases from the 1980s and 90s. The district

court also noted that Schering’s policy arguments to the contrary were “not persuasive” and that

the Patent and Trademark Appeals Board’s opinions Schering cited in support of its arguments

that inherency by anticipation did not apply were “not consistent with the Federal Circuit law.”

The Federal Circuit later affirmed.

        112.    Inequitable conduct for failure to disclose inherency. Glenmark argued that

Merck committed inequitable conduct during prosecution of the RE’721 patent by not disclosing

the inherency of these metabolites to the PTO. Merck did not do so before the RE’721 patent

issued, nor did it do so in any post-issuance communications with the PTO about the RE’721

patent.15 Inequitable conduct is the atomic bomb of patent law; when found, the entire patent

becomes invalid and/or unenforceable.

        113.    Glenmark identified several publications describing the work that the Merck

scientists did to investigate compound SCH48461, its metabolites and metabolite-like analogues,

that supported its inherency argument – many authored or reviewed by Merck scientists who

were also inventors of the RE’721. Merck never disclosed these publications to the PTO during

prosecution of the RE’721 patent. Glenmark argued that these publications would have been




        15
            The RE’721 patent issued on May 28, 2002. The district court Schering v. Geneva opinion
issued on August 2, 2002. On August 14, 2002, Schering filed a Request for Certificate of Correction for
the RE’721 patent with the PTO, seeking to correct the priority information recited in the RE’721 patent
(likely to ensure that it was treated as an application filed under 35 U.S.C. § 371 and therefore had a later
expiration date than the ’365 and ’966 patents). On December 12, 2002, Schering filed a Request for
Patent Term Extension with the PTO. On August 1, 2003, the Federal Circuit affirmed the district court’s
inherency decision. Schering’s request for patent term extension was not resolved until August 29, 2006.
Between May 28, 2002, and the conclusion of the patent term extension in 2006, Schering never
mentioned inherency or either Schering v. Geneva decision in any of its communications with the PTO
about the RE’721 patent.

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material to the PTO when examining the RE’721 patent. That Merck withheld them, and key

information they contained, reflects deceptive intent.16 These publications included:

                  •   Margaret Van Heek et al., Abstract, Isolation and Identification of the Active
                      Metabolite(s) of SCH48461 and Possible in Vivo Mechanism of Action for
                      their Inhibition of Cholesterol Absorption, Baylor College of Medicine XII
                      International Symposium on Drugs Affecting Lipid Metabolism (Nov. 7-10,
                      1995) (the “Van Heek 1995 abstract”);

                  •   Harry R. Davis, Jr. et al., Abstract, The Hypocholesterolemic Activity of the
                      Potent Cholesterol Absorption Inhibitor SCH 58235 Alone and in
                      Combination with HMG CoA Reductase Inhibitors,” Baylor College of
                      Medicine XII International Symposium on Drugs Affecting Lipid Metabolism
                      (Nov. 7-10, 1995) (the “Davis 1995 abstract”);

                  •   Stuart B. Rosenblum et al., Abstract, Discovery of SCH 58235: A Potent
                      Orally Active Inhibitor of Cholesterol Absorption, Baylor College of Medicine
                      XII International Symposium on Drugs Affecting Lipid Metabolism (Nov. 7-
                      10, 1995) (the “Rosenblum 1995 abstract”);

                  •   John W. Clader et al., 2-Azetidinone Cholesterol Absorption Inhibitors:
                      Structure-Activity Relationships on the Heterocyclic Nucleus, 39 J. Med.
                      Chem. 3684 (1996) (the “Clader 1996 publication”);52

                  •   Sundeep Dugar et al., Metabolism and Structure Activity Data Based Drug
                      Design: Discovery of (-) SCH 53079, an Analog of the Potent Cholesterol
                      Absorption Inhibitor (-) SCH 48461, 11 Bioorganic & Med. Chem. Letters
                      1271 (1996) (the “Dugar 1996 publication”);

                  •   Margaret Van Heek et al., In Vivo Metabolism-Based Discovery of a Potent
                      Cholesterol Absorption Inhibitor, SCH58235, in the Rat and Rhesus Monkey
                      through the Identification of the Active Metabolites of SCH 48461, 283 J.
                      Pharmacology & Experimental Therapeutics 157 (1997) (the “Van Heek 1997
                      publication”);53

                  •   Stuart B. Rosenblum et al., Discovery of 1-(4-Fluorophenyl)-(3R)-[3-(4-
                      fluorophenyl)-(3S)-hydroxypropyl]-(4S)-(4-hydroxyphenyl)-2-azetidinone
                      (SCH58235): A Designed, Potent, Orally Active Inhibitor of Cholesterol
                      Absorption, 41 J. Med. Chem. 973 (1998) (the “Rosenblum 1998
                      publication”).17



        16
          Rather than repeat the details of Glenmark’s discussion of these publications here, Giant Eagle
incorporates by reference ¶¶ 30-171 of Glenmark’s First Amended Answer and Counterclaims (Schering
Corp. v. Glenmark Pharm. Inc., USA, No. 07-cv-01334 (D.N.J. Mar. 10, 2008), ECF No. 54).
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             Submitted October 16, 1997.

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       114.    Inequitable conduct re patent term extension. Glenmark argued that Merck further

committed inequitable conduct when seeking the RE’721 patent term extension, by not

disclosing that at least some claims were invalid due to inherent anticipation. Merck sought to

extend the term of the RE’721 patent claims after Schering v. Geneva was decided, knowing that

claims it sought to extend were invalid under the doctrine of inherent anticipation.

       115.    Invalidity for lack of enablement. Glenmark argued that the RE’721 patent does

not teach one skilled in the art how to use ezetimibe to prevent atherosclerosis without further

experimentation, which renders claims invalid for lack of enablement.

       116.    To be enabled, the specification of the patent must teach those skilled in the art

how to make and use the full scope of the claimed invention without undue experimentation.

Articles published after a patent application’s filing date can establish a lack of enablement.

       117.    Failure to name inventors. Glenmark argued that Merck may have failed to name

all inventors and took discovery on the issue. On May 10, 2006, the industry group

Pharmaceutical Research and Manufacturers of America (“PhRMA”) presented the Discoverers

Award for contributions to the discovery of ezetimibe to three individuals: Harry R. Davis, Jr.,

Dr. Margaret Van Heek, and Kevin B. Alton. Merck had nominated all. None were listed as

inventors on the RE’721 patent.

       118.    Lack of proper reissue. Glenmark argued that reissue was improper, and thus the

reissued claims were invalid, for failure to identify an error in the ’115 patent of the type that

may be properly corrected through reissue.

       119.    Invalidity for obviousness-type double patenting. Glenmark argued that the

subject matter claimed in the RE’721 patent was not patentably distinct from matter claimed in

Merck’s earlier issued (and earlier expiring) ’365 patent. As a result, at least some claims of the

RE’721 patent were alleged to be invalid for obviousness-type double patenting.

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       I.     Spring 2009: Glenmark receives tentative approval, and Merck receives new
       regulatory exclusivities.

       120.    On April 24, 2009, the FDA gave tentative approval to Glenmark’s Zetia ANDA.

It did so within the 30-months allotted by statute, and so secured Glenmark’s first-filer 180-day

exclusivity.

       121.    At the time Glenmark received tentative approval, the 30-month stay prevented

Glenmark from launching.

       122.    In 2009, the FDA listed a new exclusivity in the Orange Book – for adding

pediatric information to the label – which expired on June 5, 2011. The FDA also added pediatric

exclusivities to all listed patents and exclusivities, which expired on December 6, 2011.

       J.      Summer 2009: Glenmark seeks partial summary judgment on two discrete
       legal issues.

       123.    In separate motions for partial summary judgment in July of 2009, Glenmark

raised two discrete legal issues as to which it did not believe there to be any disputed issues of

facts. At that time, trial was scheduled for May of 2010.

       124.    In the first motion, Glenmark argued that the RE’721 patent was invalid for

Merck’s failure to identify an error of the type that may be properly corrected in reissue.

Glenmark argued that the ’115 patent was not, as issued, wholly or partly invalid, and that

therefore it could not be properly reissued under 35 U.S.C. § 251.

       125.    In the second motion, Glenmark argued that 12 of the 13 claims in the RE’721

patent were invalid by reason of obviousness-type double patenting, in light of Merck’s earlier

issued ’365 patent.

       126.    Neither Glenmark nor Merck moved for summary judgment on any of the other

issues or arguments listed above (e.g., inherent anticipation, inequitable conduct, lack of

enablement, or failure to name inventors). From the fact that Glenmark did not move for


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summary judgment on other grounds one can infer that Glenmark (1) preferred to present its

other arguments to the finder of fact at trial or (2) believed there to be disputed issues of fact

between the parties that would prevent its arguments from being conclusively resolved at the

summary judgment stage.

        K.     Fall 2009: Merck obtains the second sterol absorption patent (the ’058
        patent).

        127.     On November 3, 2009, while the Glenmark summary judgment motions were

pending, Merck’s Application No. 10/998,40018 issued as U.S. Patent No. 7,612,058, Merck’s

second sterol non-absorption patent.

        128.     The ’058 patent is subject to a terminal disclaimer. According to Merck, it

originally was set to expire on January 25, 2022, and with a pediatric extension is set to expire on

July 25, 2022.

        129.     The ’058 patent includes 10 claims. All cover methods of treating conditions

associated with high cholesterol (e.g., atherosclerosis, diabetes, obesity) comprising

administering a pharmaceutical composition consisting of the same compound and routine

pharmaceutical additives described in the ’106 patent (Formula II, ezetimibe). The ’058 patent

was at the time it was issued, and at all times thereafter, invalid for the same reasons as the ’106

sterol non-absorption patent. Like the ’106 patent, the named inventor is Philip Wing-Kee Cho.

        L.       Spring 2010: Par becomes Glenmark’s partner in generic Zetia.

        130.     On April 30, 2010, Glenmark and Par entered into a Marketing and Distribution

Agreement (the “Glenmark/Par Distribution Agreement”) whereby Glenmark appointed Par to

be the exclusive distributor to market, distribute and sell Glenmark’s generic Zetia in the United



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          On November 29, 2004, Schering filed Application No. 10/998,400 as a divisional of the ’968
application, seeking another inhibition of sterol absorption patent. The primary examiner was again San-
Ming Hui.

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States. In exchange for, among other things, an upfront payment to Glenmark and a promise to

share the net profits from the sale of the drug between Par and Glenmark, Glenmark granted Par

the exclusive right to distribute its generic Zetia in the United States.

       131.    The Glenmark/Par Distribution Agreement establishes that Glenmark provided

Par “all documents or materials in its possession or control” relating to the ANDA litigation

between Merck and Glenmark. The Agreement required Par and Glenmark to “jointly” make

“all material decisions” in the Merck-Glenmark patent infringement litigation or any other

litigation involving generic Zetia. Specifically, section 9.2.2 of the Glenmark/Par Distribution

Agreement, entitled “Decisions,” provided:

               9.2.2 Decisions. Glenmark shall keep Par reasonably informed
               regarding material developments with respect to any Litigation.
               Glenmark shall continue to control the defense of the Litigation,
               except that all material decisions with respect to the Litigation
               shall be made jointly by Glenmark and Par; provided, however,
               that if the Parties fail to promptly agree upon a course of action,
               Glenmark’s decision shall control any Litigation as well as any
               settlements thereof. Glenmark and Par, to the extent necessary to
               protect and preserve the attorney-client privilege between
               Glenmark and its counsel, shall enter into a common interest
               and/or joint defense agreement.

       132.    Under the terms of the Glenmark/Par Distribution Agreement, Glenmark could

not settle its lawsuit with Merck without Par’s “written consent.” And, if any such settlement

were to occur, Glenmark was required to share any proceeds with Par. Pursuant to this

provision, Par gave its written consent to the unlawful settlement agreement between Merck and

Glenmark.

       133.    The Glenmark/Par Distribution Agreement also required Par to consult with

Glenmark regarding marketing, pricing, and distribution decisions, and explicitly established a

Steering Committee comprised of “an equal number of duly qualified representatives of Par and

Glenmark . . . with the necessary authority to deal with and make decisions concerning the

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matters within the Steering Committee’s authority.” The Steering Committee’s responsibilities

included:

       a.      “advise on the overall strategy for the marketing of the Product [generic Zetia];

       b.      “review and advise on the marketing plan”;

       c.      “monitor the activities and performance of Par related to the marketing plan”;

       d.      “review and advise on decisions in connection with the marketing plan”;

       e.      “review and advise on major amendments to the marketing plans, including

       without limitation, with respect to timelines and budgets”;

       f.      “discuss pre-Launch marketing plans and strategies (including the estimated

       Launch Date)”; and

       g.      “review and advise on life cycle management plans for the Product [generic Zetia]

       after the Product has been launched or has been actively planned for Launch.”

       134.    The Glenmark/Par Distribution Agreement required Glenmark and Par to

establish the Steering Committee within 30 days of the Agreement’s execution, and to meet a

minimum of twice a year. It also provided that the Steering Committee would be chaired by a

Glenmark representative prior to “pre-Launch commercialization planning” but thereafter by a

representative of Par. On information and belief, under the Agreement, Par became Glenmark’s

partner in the profits made from the sale of Glenmark’s generic Zetia in the United States, as

well as the Merck-Glenmark ANDA litigation, any settlement of that litigation, and any proceeds

or benefits of such a settlement.

       135.    Par performed under the Glenmark/Par Distribution Agreement by consenting to

the unlawful settlement agreement between Merck and Glenmark, by distributing Glenmark’s

generic Zetia in the United States, and by furthering the purposes of the unlawful conspiracy.

Par benefited from the conspiracy because the profits it retained from the sale of Glenmark’s

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generic Zetia were higher than they otherwise would have been as a result of the absence of

competition from a Merck authorized generic.

       M.      Summer 2010: Merck and Glenmark/Par settle with a reverse payment.

       (1)     The Court sends Glenmark’s double-patenting argument to trial.

       136.    On April 19, 2010, the Honorable Jose L. Linares of the U.S. District Court for

the District of New Jersey issued opinions addressing each of Glenmark’s motions for partial

summary judgment. First, the court granted Glenmark’s motion on invalidity, agreeing with

Glenmark that reissuance of the ’115 patent had been improper because Merck had failed to

identify the kind of purported error that can be corrected in reissue. This functionally threw out

claims 10-13, which claimed ezetimibe expressly and had been added in reissue. Merck moved

for reconsideration of this order on April 30, 2010.

       137.    On the same day, the court denied Glenmark’s second motion for partial summary

judgment (obviousness-type double patenting), concluding that disputed issues of fact as to

whether, at the time of the ’365 patent, alternative processes for making the claimed azetidinone

compounds existed. The court did not hold that there was no double patenting. Rather, the court

simply concluded that the issue of double patenting should be resolved by the finder of fact at

trial, based on a full evidentiary record.

       (2)     Two days before trial, Merck and Glenmark/Par agreed to settle by
               providing a reverse payment to Glenmark/Par.

       138.    Trial was scheduled to begin on May 12, 2010. At issue were Glenmark’s

affirmative defenses and counterclaims, including its assertion that claims 1 through 9 were

unenforceable because of Merck’s intentional failure to disclose to the PTO either (1) that

compounds claimed in the RE’721 were naturally occurring metabolites of SCH46481 (and

therefore inherently anticipated by earlier disclosures), or (2) the disqualifying prior art

publications by Merck’s own scientists that had been hidden from the PTO.
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       139.    On May 10, 2010, two days before the scheduled start of trial, Merck and

Glenmark entered into an agreement that settled the patent infringement lawsuit and unlawfully

allocated the market for ezetimibe.

       140.    Merck and Glenmark agreed to entry of a consent judgment. In order to ensure

there were no adverse rulings concerning the RE’721 patent as a result of the litigation, a

condition of the settlement included that the parties seek to have the court vacate its partial

summary judgment invalidating claims 10-13 for improper reissue. The parties gave the court a

proposed order, along with the consent judgment vacating the partial summary judgment order

on claims 10-13. That proposed order makes reference to the fact that the ruling of the Board of

Patent Appeals and Interferences in Ex parte Tanaka, on which the Court based its ruling

invalidating claims 10-13, had been docketed for appeal.

       141.    The proceedings on entry of the consent judgment revealed that the parties had

agreed that, subject to certain unrevealed caveats, Glenmark would not enter the market with its

generic Zetia product until December 12, 2016.

       142.    As noted above, the Glenmark/Par Distribution Agreement prohibited Glenmark

from settling with Merck absent Par’s express written consent, which Par provided. The

settlement agreement also identified Par as the distributor of “Glenmark Product [generic Zetia]

in the United States on or after the [unlawfully agreed-to] Entry Date.”

       143.    Par knowingly and voluntarily agreed to the terms of the unlawful settlement and

authorized its execution by Glenmark. By operation of the Glenmark/Par Distribution

Agreement, Par and Glenmark were partners with one another in the distribution of Glenmark’s

generic Zetia and both conspired with Merck to delay the entry of generic ezetimibe and allocate

the market for generic ezetimibe in the United States.




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       144.    Although the consent judgment made reference to the settlement agreement, the

agreement was not docketed in the court record, and the parties did not publicly reveal any of the

remaining terms of that agreement at the time of the settlement. Nor have the other terms of that

agreement ever been made public.

       145.     On information and belief, the settlement agreement confirms that, as a quid pro

quo for Glenmark’s agreement to drop its patent challenge and delay market entry for over five

years, Merck promised not to launch a competing authorized generic version of Zetia during

Glenmark’s eventual 180-day exclusivity period (the “no-AG agreement”). Under sections 5.2

and 5.4 of the settlement agreement, Glenmark/Par agreed not to launch generic ezetimibe until

December 12, 2016 (or earlier under certain circumstances). Under section 5.3 of the unlawful

settlement agreement, Merck agreed not to launch an authorized generic in competition with

Glenmark/Par “[d]uring any period of exclusivity to which Glenmark is entitled under 21 U.S.C.

§ 355(j)(5)(B)(iv) [180-day exclusivity], and through the expiration of [Merck’s] rights under the

‘721 Patent and Ezetimibe Pediatric Exclusivity.” As it turned out, Glenmark/Par was permitted

to launch generic ezetimibe on December 12, 2016, Merck’s rights under the ‘721 Patent

(including pediatric exclusivity) expired on April 25, 2017, and Glenmark’s 180-day exclusivity

expired on June 10, 2017.

       146.    On information and belief, internal documents of Merck and Glenmark produced

in discovery in related antitrust cases demonstrate that both companies understood the settlement

agreement to prohibit Merck’s launch of an AG for some period of time after Glenmark/Par’s

entry, although there was a disagreement about when the no-AG commitment expired. Merck

implausibly interpreted section 5.3 of the settlement agreement to permit the launch of an AG

upon the conclusion of Glenmark’s 180-day exclusivity or the expiration of Merck’s rights under

the ‘721 Patent, whichever came earlier, while Glenmark/Par interpreted section 5.3 much more

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naturally to permit the launch of an AG upon the conclusion of Glenmark’s 180-day exclusivity

and the expiration of Merck’s patent rights, whichever came later. Thus, Merck took the

position that it was permitted to launch an AG when its patent rights expired on April 25, 2017,

while Glenmark took the position that Merck was not permitted to launch an AG until June 10,

2017.

        147.   Glenmark also recognized that section 5.3 of the settlement agreement prohibited

Merck from launching an AG for some period of time beginning with Glenmark/Par’s entry.

        148.   Even after executing the settlement agreement with Glenmark, Merck continued

to plan for the launch of an authorized generic of Zetia in 2017.

        149.   In October 2016, Merck entered into a Supply and Distribution Agreement with

Prasco, an experienced distributor of authorized generics. On information and belief, Merck and

Prasco eventually settled on a launch date of approximately three weeks prior to the expiration of

Glenmark’s 180-day exclusivity and the entry of additional generics. Merck and Prasco

concluded that an AG was economically viable even if were launched only three weeks prior to

the entry of additional generics.

        150.   In the months leading up to execution of the Supply and Distribution Agreement

with Prasco, Merck recognized that its interpretation of section 5.3 of the settlement agreement

was likely to be challenged. Accordingly, an in-house lawyer for Merck wrote to Glenmark on

June 8, 2016, stating its interpretation of section 5.3—i.e., that Merck’s agreement to refrain

from introducing an AG ended on April 25, 2017.

        151.   Glenmark disputed Merck’s interpretation of section 5.3. Representatives of

Merck met with representatives of Glenmark and Par on August 11, 2016, in an effort to resolve

the dispute. On information and belief, on August 30, 2016, Glenmark’s Vice President for




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Global Intellectual Property wrote to Merck’s Senior Vice President and Assistant General

Counsel stating that Merck’s interpretation of section 5.3 was incorrect.

       152.    Merck ultimately capitulated to Glenmark/Par’s interpretation of their agreement.

It concluded that launching an authorized generic on June 10, 2017, was not economically viable

and terminated the AG project. It had already shipped product to Prasco, which was returned.

Given Merck’s recognition that a Zetia AG was economically viable even if it entered the market

only three weeks before the entry of additional generics, there is no question that Merck would

have launched an AG simultaneously with the launch by Glenmark/Par had it not agreed to

refrain from doing so.

       153.    Given Merck and Glenmark’s choice to conceal the terms of their unlawful

agreement, the absence of an AG launch for generic Zetia could be publicly learned only at the

time that Merck failed to undertake such a launch – late December 2016 and the first six months

of 2017. Given the concealment of the confidential settlement agreement, the existence of the

no-AG agreement could not have been known until Glenmark launched its generic in 2016 and

Merck failed to launch an AG product.

       154.    The no-AG agreement was a payment to Glenmark and Par from Merck worth

substantially more than Glenmark and Par could have earned if they had come to market with

generic Zetia in 2011. And, Glenmark/Par could not have obtained a no-AG agreement even had

it won the patent infringement litigation. By delaying generic entry for more than five years, and

thereby obtaining the no-AG agreement from Merck, Glenmark/Par was ensured six months of

exclusive generic sales, free from competition from Merck’s authorized generic or any other

generic competitors.




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       155.    For Merck, the benefits of the no-AG agreement were enormous. While it would

forgo six months of profits on an authorized generic, it would enjoy more than five years of

monopoly profits selling much more expensive and profitable branded Zetia.

       156.    The reverse payment agreement was entered into in May 2010. That agreement

delayed Glenmark’s generic entry until December 2016. Absent the reverse payment, generic

entry would have occurred on or after December 6, 2011, when Merck’s last regulatory

exclusivity ended. By then, Glenmark would have resolved the RE’721 infringement claims by

either winning at trial or settling on competitive terms (without a payment), or it would have

launched at risk. And, Merck has never accused Glenmark of infringing any other Orange Book-

listed patents covering Zetia.

       157.    By December 6, 2011, other than the RE’721 patent (addressed below), no other

impediments existed to the prompt approval and launch of generic Zetia.

       158.    First, Glenmark’s ANDA had already received FDA tentative approval. In effect,

Glenmark had met all preconditions for final FDA approval other than the 30-month stay that

Merck’s enforcement of the RE’721 triggered against Glenmark.

       159.    Second, no other patents held by Merck would forestall generic entry. The ’966

patent had claims only to combination products, but generic Zetia is not a combination product,

and Merck never enforced the ’966 patent against Glenmark. The ’106 and ’058 sterol

nonabsorption patents were obvious in light of the RE’721 disclosures, and Merck never

enforced those patents against Glenmark. The ’365 patent was limited to the narrow processes

set out in that patent, and Merck never enforced the ’365 patent against Glenmark.

       160.    Third, no other exclusivity existed after December 5, 2011. Merck’s NCE

exclusivity expired in 2007. Two other exclusivities – an indication exclusivity I-493 and a




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pediatric exclusivity M-54 – were capable of being carved out of any generic label, and in any

event had expired by December 5, 2011.

       161.    As to the RE’721 patent, in the absence of the reverse payment and with Merck

and Glenmark/Par acting as lawful, economically rational companies, generic entry would have

occurred much sooner than it did. Such earlier entry would have occurred in one of three

alternative ways.

       162.    First, absent the reverse payment, Glenmark/Par and Merck could have settled the

litigation, but without a reverse payment, and with an earlier agreed entry date. That agreed entry

date would have been based on the merits of Merck’s RE’721 infringement claims – claims that

had no merit – rather than a payment. As a result, an arms’-length settlement between

economically rational, law-abiding companies would have led to an agreed entry date much

sooner than December 2016.

       163.    Second, absent the reverse payment, Glenmark/Par would have won the trial

scheduled to start in May 2010. In that trial, a finder of fact would have concluded that (for the

reasons described above) Merck failed to prove that Glenmark/Par infringed a valid patent for

one or more of the following reasons:

               •    Merck (through the inventors, agents, and others with a Rule 56 duty)
                    committed inequitable conduct by intentionally and deceptively hiding the
                    fact that the RE’721 claimed compounds that were naturally occurring
                    metabolites of SCH 48461 (and therefore inherently anticipated by its earlier
                    disclosure in PCT’048), which would render the entire RE’721 patent invalid
                    or unenforceable);

               •    Regardless of whether Merck committed inequitable conduct, the claims of
                    the RE’721 patent were invalid for inherent anticipation; and

               •    The RE’721 patent was invalid for obviousness-type double patenting over the
                    ’365 patent.

       164.    Having gone to trial and won, Glenmark/Par would have launched generic Zetia

soon after a district court ruling in its favor and the expiration of any other, lawful exclusivity.

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        165.    Third, absent the unlawful reverse payment, Glenmark/Par could have launched

generic Zetia at risk, prior to a favorable district court decision, recognizing that it would almost

surely prevail in the patent trial.

        166.    Without the large and unjustified payment, several additional generics would have

come to market after Glenmark/Par’s 180-day exclusivity ended – as early as June 6, 2011, and

in any event much earlier than June 12, 2017.

        167.    In the absence of the unlawful agreement, Merck would have launched its

authorized generic version of Zetia at or around the same time that Glenmark launched its

generic.

        (3)     The value of the agreement to Merck.

        168.    With generic entry in December 2011, Merck would have lost at least 80% of its

branded sales. But without generic entry, it kept all those sales – and continued to enjoy those

branded sales until the end of 2016.

        169.    Because Glenmark was the first ANDA filer, its agreement not to launch generic

Zetia until December 2016 created a bottleneck preventing any other generic company from

marketing a generic Zetia product until 180 days after Glenmark/Par launched its generic

product. In establishing a bottleneck using Glenmark/Par, Merck maximized the potential for it

to maintain its monopoly on Zetia for about five years longer than it otherwise would have. The

additional monopoly profits earned by Merck during those five years vastly outweigh the cost of

forgoing the sales of an authorized generic. Giant Eagle estimates that Merck enjoyed between

$5.7 billion and $8.3 billion in additional sales of branded Zetia and, in return, gave up

approximately $129.8 million in lost authorized generic sales during the first six months after

generic entry. The calculation of the $129.8 billion authorized generic sales is explained below.




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       (4)     The value of the no-AG promise to Glenmark/Par.

       170.    Valuing the no-AG agreement to Glenmark/Par is a matter of estimating the

additional sales and profits Glenmark/Par made during its six-month generic exclusivity period

in 2016, without competition from an authorized generic, as compared to the sales it would have

made in the first six months of generic competition starting in December 2011 when, without the

benefit of the no-AG agreement, it would have faced competition from Merck’s authorized

generic.

       171.    Under competitive conditions, the calculation of Glenmark’s sales during the first

six months of generic competition starting in December 2011 is identical to the calculation for

Merck’s authorized generic during this period, because the same assumptions apply to

Glenmark’s generic as to Merck’s. Actual sales of branded Zetia in the U.S. were approximately

$1.298 billion in 2011. Assuming that Glenmark/Par’s generic and Merck’s authorized generic

captured 80% of Zetia’s sales, split those sales equally, and sold the generic at a price equal to

50% of the brand price, each company would have generated sales of $129.8 million during the

six-month exclusivity period ($1.298 billion x .8 x .5 x .5 x .5). Thus, the value of generic sales

by Glenmark in 2011, facing competition from Merck’s authorized generic, would have been

approximately $129.8 million.

       172.    Under the no-AG agreement, however, Glenmark/Par would now obtain (a) all

(rather than 50%) of generic Zetia sales in the first six months of generic launch (because there

was no authorized generic sharing the market); (b) a higher generic price equal to approximately

80% of the branded price rather than 50% of the branded price (because there was no authorized

generic driving down price); and (c) the advantage of competing in a market that would grow in

size over the five-year delay period. From 2011 to 2016, annual sales of branded Zetia actually

more than doubled, from $1.298 billion to $2.6 billion.

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       173.    Without competition from Merck’s authorized generic, Glenmark/Par could

expect to capture 80% of the sales of the branded product in 2016 and could price its generic

product at about 80% of the brand’s price. Glenmark/Par also could expect the market to grow

significantly from 2011 to 2016. Using the conservative assumption that the market was

expected to grow by 50% during that time period, from approximately $1.298 billion to

approximately $1.947 billion, Glenmark/Par could expect to achieve sales of approximately $623

million during its exclusivity period beginning in December 2016 ($1.947 x .5 x .8 x .8).

       174.    Thus, the agreement with Merck to delay Glenmark/Par’s launch of generic Zetia

until December 2016 was worth nearly $500 million in additional sales to Glenmark/Par ($623

million - $129.8 million = $493.2 million). Glenmark/Par would be expected to keep at least

80% of these additional sales dollars as profit.

       N.      2010-2013: Merck seeks another reissue and sues more generics.

       (1)     Summer 2010: Merck admits invalidity and seeks reissue of the RE’721
               patent.

       175.    On June 9, 2010, within a month after its settlement with Glenmark, Merck

applied to the PTO for reissuance of the RE’721 patent. Again, to obtain reissue, the applicant

must identify an error and attest, under oath, that the original patent is wholly or partly

inoperative or invalid. Merck and its agents admitted that the RE’721 patent was invalid, citing

inherent anticipation as the reason (as Glenmark had argued).

       176.    In the required declaration accompanying its reissue application, Mark Russell,

legal director of patents for Schering Corporation attested to an error, and conceded that

Glenmark’s inherent anticipation argument was correct:

               •   “I have reviewed and understand the content of the above identified
                   specification, including the claims . . . .”




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               •     “I verily believe the original patent to be wholly or partly inoperative or
                     invalid, for the reasons described below . . . by reason of the patentee claiming
                     more than he had the right to claim in the patent.”

               •     “At least one error upon which reissue is based is described as follows: At
                     least one claim of RE37,721 E is potentially inherently anticipated by
                     International published patent application WO 93/02048, filed July 21, 1992
                     (PCT/US92/05972) and published February 4, 1993 (“the ’048 PCT
                     publication”). See also European patent application EP 0524595 A1. In
                     infringement litigation involving RE37,721 E, defendants have alleged that
                     the PCT’048 publication recites, in Example 9, a compound, that when
                     administered to mammals, as also reported in the PCT’048 publication,
                     metabolizes into one or more compounds that fall within the scope of at least
                     claims 1 of RE37,721 E.”

               •     “I hereby declare that all statements made herein of my own knowledge are
                     true and that all statements made on information and belief are believed to be
                     true; and further that these statements were made with the knowledge that
                     willful false statements and the like so made are punishable by fine or
                     imprisonment, or both, under 18 U.S.C. 1001, and that such willful false
                     statements may jeopardize the validity of the application, any patent issuing
                     thereon, or any patent to which this declaration is directed.”

       177.    In Merck’s preliminary remarks, attorneys Carl A. Morales and James F. Haley,

Jr. of Ropes and Gray LLP, attorneys/agents for reissue applicants, made similar statements

about inherent anticipation and invalidity being the basis for seeking reissue, and proposed

amendments to the claims that ostensibly addressed these problems, namely cancelling claims 1-

2 and 4-6 and amending claims 3 and 7-9.

       (2)     Summer 2010: Merck sues Mylan and Teva for infringing the RE’721
               patent; both counterclaim.

               (a)      The Mylan litigation.

       178.    In or about April 2010, Mylan Pharmaceuticals, Inc. filed a paragraph IV ANDA

for generic Zetia.

       179.    Mylan sent its paragraph IV notice for Zetia to Merck on May 25, 2010.




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        180.    On June 16, 2010, a week after it filed its latest reissue application, Merck sued

Mylan for infringement of the RE’721.19

        181.    Mylan counterclaimed, seeking declarations that both patents were invalid and

unenforceable, also asserting claims for damages under the federal antitrust laws and state unjust

enrichment laws. Mylan raised many of the arguments initially raised by Glenmark.

                (b)     The Teva litigation.

        182.    On July 21, 2010, Teva Pharmaceuticals notified Merck that Teva had filed

ANDA 78-724 for approval to make generic Zetia, including a paragraph IV certification that the

listed patents were invalid and unenforceable.

        183.    On September 1, 2010, Merck filed suit against Teva for infringement of the ’966

and RE’721 patents in the District of New Jersey. Later that month, Merck formally agreed not

to assert the ’106 and ’058 patents against Teva.

        O.    Spring 2011: The Federal Circuit functionally overturns the Glenmark
        “error” summary judgment decision.

        184.    In April 2011, shortly before the ’115 patent was reissued for a second time, the

Court of Appeals for the Federal Circuit reversed the Board of Patent Appeals and Interferences’

ruling in Ex parte Tanaka. In Tanaka, the Federal Circuit recognized “the narrow rule”

permitting applicants to add “dependent claims as a hedge against possible invalidity,” noting

that this rule “has been embraced as a reasonable interpretation of the reissue statute by this court

and its predecessor for nearly fifty years.”



        19
           Merck initially asserted that Mylan’s Zetia product infringed the ’966 patent but withdrew that
allegation part way through the litigation. Mylan had earlier filed an ANDA for Vytorin, a Merck product
also marketed to combat high cholesterol that includes ezetimibe as one of two active ingredients.
Merck’s patent infringement suit against Mylan claiming infringement of the RE’721 and ’966 patents by
the Vytorin ANDA had been filed in December of 2009 and was pending before Judge Linares in the
District of New Jersey at the time of the Merck-Glenmark settlement. The Vytorin and Zetia cases against
Mylan were consolidated for all purposes in September 2010.

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       185.     While this decision effectively overturned the rationale behind the earlier

Glenmark summary judgment about the technical requirements for invoking the reissue statute, it

did not in any way undermine any of Glenmark’s other arguments regarding invalidity or

unenforceability of the RE’721.

       (3)      Summer 2011: Merck obtains reissuance of RE’721 patent (RE’461).

       186.     On June 14, 2011, the RE’721 patent was reissued as U.S. Patent No. RE42,461.

       187.     The RE’461 patent as reissued (or as re-reissued in this case) included only claims

8 through 13, and parts of claims 3 and 7, of the RE’721 patent.

       (4)      Summer 2011-2012: The Mylan and Teva litigations resolve.

                (a)    2011: Schering and Teva settle.

       188.     On July 7, 2011, before any substantive rulings in the case and while its parallel

case against Mylan was pending, Merck settled with Teva. Judge Linares entered a consent

judgment that prohibited Teva from launching generic Zetia before April 25, 2017. No other

terms of the settlement were made public.

                (b)    2011: The Court denies Merck’s motion for summary judgment of
                       inequitable conduct.

       189.     On July 25, 2011, Merck filed an amended complaint against Mylan, substituting

the newly reissued RE’461 patent for the RE’721 patent.

       190.     On August 19, 2011, Mylan filed an answer, affirmative defenses, and

counterclaims to Merck’s amended complaint. In addition to invalidity based on inherent

anticipation and unenforceability based on failure to disclose prior art, Mylan also alleged that

the patents were unenforceable because of an intentional failure to disclose one of the inventors

of ezetimibe.

       191.     On August 22, 2011, the court denied Merck’s motion for judgment on Mylan’s

defense of inequitable conduct for failure to disclose prior art to the PTO, holding that “Mylan
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has put forth sufficient indirect and circumstantial evidence from which a reasonable fact finder

could conclude that Schering had knowledge of the materiality of the withheld prior art,” and

that “a deliberate decision to withhold that information could . . . be reasonably inferred from the

evidence already presented.”20

        192.    On the same day, Judge Linares granted in part Merck’s motion for summary

judgment against Mylan, ruling that Mylan’s ANDA did infringe claims 3, 10, 11, and 12.

        193.    On September 30, 2011, Merck indicated that it would no longer be asserting any

claims of the ’966 patent against Mylan.

        194.    On November 18, 2011, Mylan sent a letter to the Court confirming that it would

be withdrawing a defense, namely its claim “based on the non-disclosure of information

demonstrating a relationship between compounds claimed in predecessor patents and metabolites

of a prior art compound.” This withdrawal “thereby reduc[ed] the issues to be tried before the

Court on December 5, 2011.” Mylan explained that this was done “in the interest of further

streamlining the issues remaining for trial” and “having considered the time allotted by the Court

for presentation of issues by the parties.” Mylan also specifically clarified that it had “not

withdrawn its additional defenses based on inequitable conduct, including those related to

improper inventorship.”

        195.    Mylan’s choice to pursue the inventorship issue rather than other arguments

raised earlier in the litigation does not reflect the relative substantive merits of those arguments/

defenses, or Mylan’s own evaluation of them. Instead, the choice simply reflected the untenable

position in which Mylan found itself: Mylan had a limited amount of time to present its case, so

Mylan picked a single, discrete issue to try.


        20
          The court also noted that “Schering does not appear to dispute that it had knowledge of the
metabolite information during prosecution.”

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        196.    Mylan knew when it was deciding on its litigation strategy in fall 2011 that even

if it won the patent litigation, it would enjoy no regulatory or even de facto exclusivity. It knew

that Zetia was a blockbuster drug, and that many other generic manufacturers had filed or would

ultimately file ANDAs seeking to market generic Zetia. Mylan further knew that both of the

previously announced Glenmark and Teva agreements may have included so-called “acceleration

clauses” that would permit Glenmark and Teva to enter the market as soon as any other generic

manufacturer – such as Mylan – entered. And it knew that, in order to trigger Glenmark’s 180-

day exclusivity, it would have to prevail in the patent case all the way through the Federal

Circuit. Thus, regardless of the time and resources that Mylan poured into trying to win the

patent litigation, the most it could hope to win would be (at best) a one-third or one-fourth share

or (at worst) a one-seventh share of sales made at a price driven to down near marginal cost.

Mylan’s litigation strategy reflected the choice of not necessarily the best substantive defense,

but the cheapest and fastest within the practical constraints.21

        (5)     2012: After a trial, the Mylan court found no inequitable conduct on
                inventorship (only).

        197.    Judge Linares held a bench trial in December 2011, solely on the issue of the

claimed unenforceability of the RE’461 patent due to Merck’s alleged inequitable conduct based

on Merck’s alleged misrepresentation of the inventorship of the RE’461 patent. The trial did not

address any allegations that the RE’461 patent was invalid as obvious over prior art, or any

allegations of inequitable conduct based on Merck’s failure to disclose invalidating prior art.




        21
            Mylan was the first-filer with respect to another drug (Vytorin) involving the same patents at
dispute in its Zetia litigation against Merck. But Mylan knew by Fall 2011 that: (1) it would not be
entitled to 180-day exclusivity with respect to Vytorin because it would fail to get timely FDA tentative
approval; and (2) other generic manufacturers would enter the market with generic Vytorin before or at
the time that Mylan entered, even if it won the Vytorin patent case.

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        198.      On April 27, 2012, the court ruled that Mylan had failed to prove inequitable

conduct on the inventorship issue and therefore that the RE’461 patent was not invalid or

unenforceable on that basis.22

        199.      Later, on August 7, 2013, Mylan’s ANDA for Zetia received tentative approval

from the FDA. To date, Mylan has not launched a generic version of Zetia in the U.S.

        (6)       2012-2013: Schering sues Sandoz; Sandoz counterclaims; the parties settle.

        200.      In August 2012, Sandoz notified Merck that Sandoz had filed ANDA 203-931 for

approval to market generic Zetia.

        201.      On September 27, 2012, Merck sued Sandoz for infringement of the RE’461

patent in the District of New Jersey. In its amended complaint filed May 29, 2013, Merck alleged

that the purpose of Sandoz’s ANDA submission was to obtain permission under the FDCA to

engage in the commercial manufacture, use, offer for sale, and/or sale of Sandoz’s generic Zetia

prior to the expiration of the RE’461, ’966, ’106, and ’058 patents. In its answer to the amended

complaint filed July 26, 2013, Sandoz admitted that it had sought approval to manufacture and

sell generic Zetia prior to the expiration of those patents, and further admitted that Sandoz

intended to manufacture and sell generic Zetia “immediately and imminently upon approval of

ANDA No. 203931 in light of potential third party exclusivity rights.” Sandoz pleaded

affirmative defenses including the unenforceability and invalidity of the RE’461 patent.

        202.      Sandoz also counterclaimed for a declaratory judgment of the unenforceability of

the RE’721 and RE’461 patents, the invalidity and Sandoz’s non-infringement of one or more of

the claims of those two patents as well as the ’106 and ’058 patents. Sandoz alleged, inter alia,

that all the claims of the RE’721 and RE’461 patents were unenforceable due to inequitable


        22
             Mylan appealed the verdict, but on February 7, 2013, the Federal Circuit Court of Appeals
affirmed.

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conduct because Merck had “failed to disclose publications concerning metabolites of a prior art

compound (compound SCH 48461).” Specifically, Sandoz alleged that the publications Merck

withheld during prosecution of the RE’721 and RE’461 patents described “metabolic studies of

SCH 48461 from which the examiner could determine the structure of metabolites of SCH48461,

and that relevant metabolites were inherently formed by the preparation and administration of

SCH 48461, as disclosed in [the PCT’048] patent.” Sandoz also alleged that the Van Heek 1997

article had claimed the discovery of ezetimibe in conjunction with Dr. Rosenblum in 1995 and

described the “large chemical synthesis program [that] evolved to discover a more potent backup

compound for SCH 48461,” including the addition of “[a] benzylic hydroxyl group … to SCH

53695 and several sites that were readily metabolized in SCH 48461 were blocked with fluorines

resulting in [ezetimibe].” Sandoz additionally averred that the Dugar 1996 article, the Rosenblum

I 1995 abstract, and the other prior art publications discussed above had specifically disclosed

that two disclosed compounds, dubbed compound 57a and compound 58, were metabolites of

SCH 48461 and thus inherently disclosed by the teachings of the prior art PCT’048 patent.

       203.    On September 3, 2013, the court ordered Sandoz to provide its ANDA to Merck

by September 6, 2016 (ECF 46) and ordered Merck to file its response to Sandoz’s counterclaims

on or before September 17, 2013.

       204.    On September 5, 2013, before the pleadings in the case were closed, and before

any further proceedings or any substantive rulings in the case, Merck and Sandoz settled all

issues in the patent infringement litigation. Judge Linares entered a consent judgment prohibiting

Sandoz from launching generic Zetia before April 25, 2017. No other terms of the settlement

were made public.




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       P.      2016: Glenmark/Par launches a generic form of Zetia; Merck does not.

       205.    Glenmark’s ANDA 78-560 received final FDA approval on June 26, 2015. In its

final approval letter, the FDA reconfirmed that Glenmark was entitled to 180 days of market

exclusivity upon launch.

       206.    On December 12, 2016, Glenmark/Par launched its generic Zetia, which its press

release of that date described as “the first and only generic version” of Zetia in the United States.

       207.    From December 12, 2016, through June 10, 2017, Glenmark/Par’s product was

the only generic version of Zetia sold in the U.S. market.

       208.    Merck refrained from launching an authorized generic version of Zetia during

Glenmark’s 180-day exclusivity period pursuant to the no-AG commitment in the parties’

unlawful settlement agreement. Merck concluded that launching an AG on June 10, 2017 was

not economically viable, but that launching an AG three weeks earlier would have been

economically viable. Given Merck’s recognition that launching an AG only three weeks before

the expiration of Glenmark/Par’s 180-day exclusivity would have been profitable, there is no

doubt that Merck would have launched an AG simultaneously with the launch of Glenmark/Par’s

generic if Merck had not agreed to refrain from doing so.

       Q.      2017: 180 days later, five more generics launch.

       209.    On or about June 10, 2017 – the day Glenmark/Par’s exclusivity expired – the

FDA approved ANDAs for generic Zetia previously filed by seven competitor companies: Teva

(ANDA 78-724), Sandoz (ANDA 203-931), Amneal (ANDA 208803), Apotex (ANDA 208332),

Ohm Laboratories (ANDA 207311), Zydus (ANDA 204331), and Watson Laboratories (ANDA

200831).

       210.    Five of these manufacturers—Teva, Sandoz, Amneal, Apotex and Ohm

Laboratories—launched a generic Zetia product in June 2017, shortly after receiving FDA

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approval. Zydus launched its generic Zetia product in August 2017. The seventh manufacturer,

Watson Laboratories, had sold its generic drug business to Teva before June 2017 and so did not

launch a generic Zetia product.

          211.   An eighth ANDA, filed by Aurobindo (ANDA 209838), was approved in August

2017 and Aurobindo launched the same month. An additional ANDA, filed by Alkem

Laboratories (ANDA 209234), was approved in December 2017, and launched the same month.

          212.   Whereas only brand-name Zetia tablets were available to purchasers and

consumers before December 2016, and only brand-name Zetia and Glenmark/Par’s generic

tablets were available from December 2016 to June 2017, by July of 2017 there were six

generics available on the market in addition to branded Zetia, and by September of 2017 there

were eight generics in addition to branded tablets.

          213.   The average retail price of ezetimibe tablets dropped from $10 per pill before

Glenmark/Par’s launch to less than $1 per pill as of December 1, 2017.

          214.   Absent the no-AG promise, Merck would have launched an authorized generic

during Glenmark/Par’s 180-day exclusivity period, taking approximately 50% of Glenmark’s

generic sales and substantially lowering the price that drug purchasers paid for generic Zetia.

Absent the no-AG promise, Glenmark/Par would not have agreed to delay its launch until

December 12, 2016, and instead would have entered the market much sooner than it did.

Additional generics would have entered the market six months later and further driven down

prices.

          215.   The settlement with Glenmark/Par enabled Merck to continue to receive

monopoly profits until December 12, 2016, and enabled Glenmark/Par to earn supracompetitive

profits for 180 days thereafter, with Glenmark/Par thereby effectively sharing in the monopoly

profits that the agreement made possible. The reverse payment agreement not only delayed

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Glenmark/Par’s own entry into the market, but also created a bottleneck that blocked all other

would-be generic Zetia competitors by postponing the start (and thus also the conclusion) of

Glenmark/Par’s 180-day first-filer exclusivity period. Absent Glenmark/Par’s unlawful

agreement to delay its entry until December 12, 2016, these or other generic manufacturers

would have filed their ANDA applications earlier and would have been ready, willing, and able

to enter the market as soon as Glenmark/Par’s 180-day exclusivity expired.

        R.      The no-AG promise was a large reverse payment.

        216.    The no-AG payment to Glenmark/Par was large, estimated (as explained above)

to be worth nearly $500 million in sales. It far exceeded any estimate of the litigation expenses

Merck saved by settling the patent case with Glenmark.23

        217.    Merck’s reverse payment to Glenmark/Par guaranteed two distinct periods of

suppressed competition: (a) the period before generic competition, during which Merck and

Glenmark/Par allocated 100% of sales in the relevant market to Merck; and (b) the 180-day

exclusivity period after Glenmark/Par’s entry, during which Merck and Glenmark/Par allocated

100% of generic sales to Glenmark/Par. So, purchasers were overcharged during both periods:

before Glenmark/Par’s entry, they were forced to pay overcharges for branded Zetia; and during

Glenmark/Par’s exclusivity period, they were forced to pay overcharges for generic Zetia.

Moreover, the unlawful agreement had the additional anticompetitive effect of delaying the entry

of all of the other generic competitors.

        218.    Defendants have no procompetitive explanation or justification for the reverse

payment agreement.



        23
          One 2015 survey of the cost of patent litigation found that litigation expenses for a case such as
the one between Merck and Glenmark/Par range from $3.7 million to $6.3 million. AIPLA 2015 Report of
the Economic Survey, IPICS, http://www.patentinsuranceonline.com/wpcontent/uploads/2016/02/AIPLA-
2015-Report-of-the-Economic-Survey.pdf (last visited Jan. 11, 2018).

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       219.    But for the reverse payment settlement agreement between Merck and

Glenmark/Par, Glenmark could and would have entered the market much sooner than it did, as

early as December 6, 2011, with immediate competition from a Merck authorized generic and

full competition with other generics by approximately May 2012. Instead, Glenmark/Par did not

release its generic until December 12, 2016, Merck never launched an authorized generic, and

generic entry by other manufacturers could not occur until June 12, 2017.

                                VI.     INTERSTATE COMMERCE

       220.    The drugs at issue in this case are sold in interstate commerce. Defendants’

unlawful activities, as alleged above, have occurred in, and have had a substantial impact on,

interstate commerce.

     VII.     MARKET EFFECTS AND CONTINUING INJURY TO GIANT EAGLE

       221.    Merck’s U.S. sales of Zetia were approximately $1.3 billion in 2010, $1.4 billion

in 2012, and $2.6 billion in 2016. These amounts are billions of dollars greater than the sales that

Merck would have achieved absent Defendants’ unlawful scheme to impair generic competition.

Generic Zetia products would have been priced at a fraction of the cost of brand Zetia and would

have quickly captured the vast majority of the market for ezetimibe.

       222.    Merck’s and Glenmark/Par’s unlawful agreement impaired and delayed the sale

of generic Zetia in the United States and unlawfully enabled Merck to sell its branded Zetia at

monopoly prices, and then allowed Glenmark/Par to sell generic Zetia at supracompetitive,

artificially inflated prices for an additional six months. But for Merck’s unlawful conduct,

generic competitors would have been able to compete, unimpeded, with their own generic

versions of Zetia, at a much earlier date.

       223.    But for Defendants’ anticompetitive conduct, Giant Eagle would have: (1)

purchased lower-priced generic Zetia, instead of the higher-priced brand Zetia, during the period

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when Glenmark/Par delayed its entry to the market; and (2) paid a lower price for generic Zetia

products beginning in December 2016 because multiple generic Zetia products would have

entered the market years earlier.

       224.    Giant Eagle has incurred substantial loss and damage to its business and property

in the form of overcharges.

                 VIII. MARKET POWER AND MARKET DEFINITION

       225.    The agreement between Merck and Glenmark/Par was a per se unlawful

horizontal market-allocation agreement, as to which allegations and proof of market power are

unnecessary. To the extent market power and/or market definition are found to be required,

Giant Eagle alleges them below.

       226.    Before December 12, 2016, Merck had monopoly power in the market for

ezetimibe because it had the power to exclude competition and/or raise or maintain the price of

ezetimibe at supracompetitive levels without losing enough sales to make supracompetitive

prices unprofitable. Merck was able to extend and maintain its monopoly power for an

additional five years by means of its unlawful agreement with Glenmark/Par.

       227.    Branded Zetia does not exhibit significant, positive cross-elasticity of demand

with respect to price with any other pharmaceutical product or treatment for

hypercholesterolemia other than AB-rated generic versions of Zetia. That is, in the absence of

AB-rated generics, a small but significant and non-transitory increase in the price of Zetia would

not cause Merck to lose sufficient sales to other drugs to make the price increase unprofitable.

       228.    Branded Zetia is differentiated from all other ezetimibe products, and all other

hypercholesterolemia treatments, other than the AB-rated generic versions of brand Zetia.

       229.    Merck needed to control only brand Zetia and its AB-rated generic equivalents,

and no other products, in order to maintain the price of ezetimibe profitably at supracompetitive

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prices. Only the market entry of competing, AB-rated generic versions would prevent Merck

from maintaining extremely high and profitable prices for Zetia without losing substantial sales.

       230.      Defendants had, and exercised, the power to exclude generic competition to

branded Zetia.

       231.      At all material times, high barriers to entry, including regulatory protections and

high costs of entry and expansion, protected branded Zetia from the forces of price competition.

       232.      There is direct evidence sufficient to show Merck’s monopoly power without the

need to engage in market definition and calculate market shares. That evidence includes, among

other things, the large reverse payment made to Glenmark/Par and the extremely high monopoly

profits Merck earned on branded Zetia, neither of which would have occurred in a competitive

market. To the extent that proof of monopoly power by defining a relevant product market is

required, the relevant antitrust product market is the market for Zetia and its AB-rated generic

equivalents, and the relevant geographic market is the United States.

       233.      Merck’s market share in the relevant market was 100% until December 12, 2016,

after which Merck and Glenmark/Par, collectively, had a 100% market share in the relevant

market until June of 2017, when Teva, Mylan, Sandoz, Amneal, Apotex, Ohm Laboratories/Sun

Pharmaceuticals and Zydus all launched generic Zetia products.

         IX.      CONCEALMENT TOLLED THE STATUTE OF LIMITATIONS

       234.      Giant Eagle has a cause of action against Defendants for overcharges each time

they (or their assignors) purchased Zetia or generic Zetia at a price higher than the price it would

have paid but for Defendants’ antitrust violations. Accordingly, Giant Eagle is entitled to

recover overcharges on all purchases made within four years prior to the filing of the FWK

Holdings lawsuit, i.e., all purchases on or after January 16, 2014.




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       235.    In addition, Giant Eagle is entitled to recover damages on purchases made prior to

January 16, 2014, because Defendants fraudulently concealed their unlawful conduct and Giant

Eagle did not and could not have discovered that conduct by the exercise of reasonable diligence,

thereby tolling the statute. Merck’s payment to Glenmark in the form of a no-AG promise was

not discoverable until, at the earliest, after Glenmark launched its generic ezetimibe in December

2016 and Merck did not launch an authorized generic. Merck and Glenmark had previously

disclosed only cursory information about the existence of the settlement.

       236.    Defendants’ scheme was self-concealing, and, in addition, Defendants actively

concealed their conspiracy to avoid detection.

       237.    Defendants wrongfully and affirmatively concealed the existence of their ongoing

combination and conspiracy from Giant Eagle by, among other things:

               a.      Concealing the fact of Merck’s agreement not to launch a competing
                       authorized generic Zetia product in exchange for Glenmark/Par’s
                       agreement not to market its competing generic product until December 12,
                       2016;

               b.      Concealing the fact that the purpose of the no-AG agreement was to
                       provide compensation to Glenmark/Par in connection with the settlement
                       of the patent litigation and the December 2016 entry date for
                       Glenmark/Par’s generic product; and

               c.      Filing documents with the United States Securities and Exchange
                       Commission that failed to disclose the existence or nature of the payments
                       made.

       238.    Because the scheme and conspiracy were both self-concealing and affirmatively

concealed by the defendants, Giant Eagle had no knowledge of the conspiracy and could not

have uncovered it before, at the earliest date, December 2016, through the exercise of reasonable

diligence.

       239.    Giant Eagle also lacked the facts and information necessary to form a good faith

basis for believing that any legal violations had occurred.


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       240.    As a result of Defendants’ fraudulent concealment, the applicable statute of

limitations was tolled.

                                  X.    CLAIMS FOR RELIEF

                   COUNT ONE: VIOLATION OF 15 U.S.C. § 1 (PER SE)

       241.    Giant Eagle incorporates by reference the allegations in the preceding paragraphs.

       242.    On or about May 10, 2010, Merck and Glenmark/Par entered into an unlawful

horizontal market-allocation agreement. Such agreements are unlawful per se—i.e., they are

conclusively presumed to have substantially adverse effects on competition in the relevant

market. Proof of actual adverse effects or of market power, whether direct or indirect, is

unnecessary in a per se case.

       243.    The agreement between Merck and Glenmark/Par was a per se unlawful

horizontal market-allocation agreement which allocated all sales of Zetia and its AB-rated

equivalents to Merck during the period from December 2011 through December 2016 and which

allocated all sales of AB-rated generic Zetia to Glenmark from December 2016 through June

2017. Glenmark/Par agreed not to compete with Merck from December 2011 through December

2016, and Merck agreed not to compete with Glenmark/Par from December 2016 through June

2017. Horizontal market-allocation agreements, including temporal horizontal market-allocation

agreements, are illegal per se.

       244.    But for Defendants’ antitrust violation, generic competition to Zetia would have

begun as early as December 2011. Giant Eagle and its assignors would have paid lower prices

for ezetimibe from December 2011 until today and into the future.

       245.    As a result of Defendants’ antitrust violation, Giant Eagle has been injured in its

business or property. Giant Eagle’s injury is injury of the type the antitrust laws were designed

to prevent and flows from that which makes Defendants’ conduct unlawful.

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           COUNT TWO: VIOLATION OF 15 U.S.C. § 1 (RULE OF REASON)

       246.    Giant Eagle incorporates by reference the allegations in the preceding paragraphs.

       247.    On or about May 10, 2010, Merck and Glenmark/Par entered into a reverse-

payment agreement pursuant to which Merck made a large and unjustified payment to

Glenmark/Par to avoid the risk of generic competition and maintain Merck’s monopoly power in

the relevant market. That agreement had substantially adverse effects on competition in the

relevant market and is unlawful under the rule of reason.

       248.    From the launch of branded Zetia in 2002 through December 12, 2016, Merck

possessed monopoly power in the relevant market. Its unlawful agreement with Glenmark/Par

allowed it to maintain that monopoly power. But for the unlawful agreement, Merck would have

seen its monopoly dissipate in the face of generic competition as early as December 6, 2011, and

in any event well before December 12, 2016.

       249.    Rather than competing on the merits, Merck and Glenmark/Par entered into a

reverse-payment agreement under which Merck paid Glenmark millions of dollars to delay the

launch of generic Zetia for five years. The purpose and effect of the agreement were to: (a)

delay the launch of generic Zetia and thereby maintain Merck’s monopoly power; (b)

compensate Glenmark/Par for the delay by allowing it to sell generic Zetia for six months

without competition from an authorized generic, thereby allowing Glenmark/Par to earn

supracompetitive prices as the monopoly generic; and (c) raise and maintain the prices paid by

Giant Eagle and other purchasers for both branded and generic Zetia.

       250.    There is and was no legitimate, non-pretextual, procompetitive business

justification for the unlawful agreement that outweighs its anticompetitive effects.




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         251.   As a result of Defendants’ antitrust violation, Giant Eagle has been injured in its

business or property. Giant Eagle’s injury is injury of the type the antitrust laws were designed

to prevent and flows from that which makes Defendants’ conduct unlawful.

                       COUNT THREE: VIOLATION OF 15 U.S.C. § 2

         252.   Giant Eagle incorporates by reference the allegations in paragraphs 1 through 246

above.

         253.   Merck and Glenmark/Par conspired to monopolize the relevant market and

committed overt acts in furtherance of their unlawful conspiracy.

         254.   Merck and Glenmark/Par each had a specific intent to achieve or maintain

monopoly power in the relevant market. By paying Glenmark/Par hundreds of millions of

dollars to delay the launch of its generic product, Merck manifested a specific intent to maintain

its monopoly from at least 2011 to 2016. By accepting Merck’s payment, Glenmark/Par

manifested its specific intent to allow Merck to maintain its monopoly from at least 2011 to

2016, and its specific intent to obtain market power as the sole source of generic Zetia from

December 2016 to June 2017.

         255.   As a result of Defendants’ antitrust violation, Giant Eagle has been injured in its

business or property. Giant Eagle’s injury is injury of the type the antitrust laws were designed

to prevent and flows from that which makes Defendants’ conduct unlawful.

                              XI.     DEMAND FOR JUDGMENT

         256.   WHEREFORE, Giant Eagle prays for judgment against Defendants and for the

following relief:

         A.     A declaration that the conduct alleged herein is in violation of Sections 1 and 2 of

                the Sherman Act;




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      B.     An award of Giant Eagle’s overcharge damages, in an amount to be determined at

             trial, trebled;

      C.     An award of Giant Eagle’s costs of suit, including reasonable attorneys’ fees as

             provided by law; and

      D.     Such other and further relief as the Court deems just and proper.

                                   XII.    JURY DEMAND

      Giant Eagle demands a trial by jury of all issues so triable.




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Date: June 30, 2022                Respectfully submitted,

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